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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                   PLAINTIFF

v.                                  Case No. 4:09CV00033 JLH

STATE OF ARKANSAS; MIKE BEEBE,
Governor of the State of Arkansas, in his official
capacity only; JOHN M. SELIG, Director of the
Arkansas Department of Human Services, in his official
capacity only; JAMES C. GREEN, Ph.D., Director
of the Arkansas Division of Developmental
Disabilities Services, in his official capacity only;
and CALVIN PRICE, Superintendent of the
Conway Human Development Center, in his
official capacity only                                                                 DEFENDANTS

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW

        Most lawsuits are brought by persons who believe that their rights have been violated. Not

this one. The Civil Rights Division of the Department of Justice brings this action on behalf of the

United States of America against the State of Arkansas and four state officials in their official

capacities alleging that practices at Conway Human Development Center violate the rights of its

residents guaranteed by the Fourteenth Amendment, the Americans with Disabilities Act, and the

Individuals with Disabilities Education Act. All or nearly all of those residents have parents or

guardians who have the power to assert the legal rights of their children or wards. Those parents and

guardians, so far as the record shows, oppose the claims of the United States. Thus, the United

States is in the odd position of asserting that certain persons’ rights have been and are being violated

while those persons—through their parents and guardians—disagree.

        For its first claim for relief, the plaintiff alleges that patterns and practices at Conway Human

Development Center violate the constitutional rights of its residents by failing to provide reasonably

safe conditions; by failing to provide the level of habilitation and training necessary to protect the
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residents’ liberty interests and to ensure their rights and freedom; and by substantially departing from

generally accepted standards of care in the medical, psychological, and other services provided by

the Center. Cf. Youngberg v. Romeo, 457 U.S. 307, 322, 102 S. Ct. 2452, 2461, 73 L. Ed. 2d 28

(1982) (finding that individuals involuntarily committed to a state institution must be assured

adequate or reasonable training to ensure safety and freedom from undue restraint). Over the course

of a six-week bench trial, the plaintiff examined witness after witness and introduced exhibit after

exhibit in an effort to prove that many policies and practices of Conway Human Development Center

substantially depart from generally accepted professional standards. See id. at 323, 102 S. Ct. at

2462 (recognizing that decisions of professionals are considered valid unless they constitute a

substantial departure from accepted professional judgment, practice, or standards). The plaintiff

makes allegations of abuse and neglect; takes issue with the Center’s use of restraints, psychological

services, and medical services; and argues that the procedures used to prevent choking, aspiration

pneumonia, fractures, decubitis ulcers, and other injuries are subpar. Finally, the plaintiff alleges

that, because of the Center’s deficiencies, residents die prematurely. These allegations certainly are

serious. They are not, however, supported by the weight of the evidence presented at trial.

        For its second claim for relief, the plaintiff alleges that Conway Human Development Center

violates the integration mandate of the Americans with Disabilities Act. Under the Act, a public

entity must administer services, programs, and activities in the most integrated, least restrictive

setting appropriate to the needs of qualified individuals with disabilities. Olmstead v. Zimring, 527

U.S. 581, 591-92, 119 S. Ct. 2176, 2183, 144 L. Ed. 2d 540 (1999). In the context of this case, the

terms “restrictive” and “integrated” refer to the level of interaction with nondisabled persons. An

integrated setting is a “setting that enables individuals with disabilities to interact with nondisabled



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persons to the fullest extent possible,” while a restrictive setting is one in which disabled persons

have less interaction with nondisabled persons. See 28 C.F.R. pt. 35, app. B (Mar. 15, 2011). The

plaintiff alleges that Conway Human Development Center is not the most integrated setting

appropriate for many of its residents; that the Center’s employees fail to provide parents and

guardians with adequate information about other services that the plaintiff considers more integrated;

and that the Center’s staff does not exercise professional judgment in determining the most

integrated setting appropriate for residents. The weight of the evidence, however, indicates

otherwise. The plaintiff has not met its burden under the Americans with Disabilities Act.

       For its third claim for relief, the plaintiff alleges that Conway Human Development Center

violates the rights of children at the Center under the Individuals with Disability Education Act by

failing to provide them with free appropriate public education in the least restrictive environment.

See 20 U.S.C. § 1412(a) (2006). The plaintiff offers evidence showing that children at the Center

do not spend enough time in school; that special education teachers at the Center are not trained on

the most advanced teaching methods and tools; that the education plans of the students are

inadequate; and that the ratio of teachers to students does not meet state requirements. While the

evidence supports the plaintiff’s allegation that Conway Human Development Center does not

provide free appropriate public education, the evidence also establishes that the Center has submitted

a corrective action plan to the Arkansas Department of Education, which is the state agency

responsible for supervising special education programs and monitoring their compliance. At the

time of trial, the Department had yet to determine whether the corrective measures proposed in the

plan would bring Conway Human Development Center into full compliance with the Individuals

with Disabilities Education Act.



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        The Court conducted its bench trial from September 8, 2010, through October 15, 2010. At

the conclusion of the trial, the parties requested that the filing period for post-trial briefs be delayed

until completion of the official transcripts. The transcripts have been prepared, and briefs have been

filed. Having received all of the evidence, the Court makes the following specific findings and

conclusions.

                                               I.
                                        FINDINGS OF FACT

A.      INTRODUCTORY FINDINGS OF FACT

        Conway Human Development Center is a residential facility providing a variety of services

for persons with developmental disabilities. It is one of six human development centers operated

by the Division of Developmental Disability Services of the Arkansas Department of Human

Services. Tr. 749-50, 764 (J. Green). The six human development centers have a total capacity of

1100 persons. Tr. 4332 (T. Kastner). One of the six, Alexander Human Development Center, was

in the process of closing at the time of trial. Tr. 751 (J. Green). Alexander Human Development

Center had 109 residents. Tr. 4332 (T. Kastner).

        Conway Human Development Center is certified by the Centers for Medicare and Medicaid

Services as an intermediate care facility for the mentally retarded,1 Tr. 4044 (T. Kastner), which

means that it is eligible for and receives federal funds through Medicaid.2 It is licensed by the

        1
         See 42 C.F.R. § 440.150 and 42 C.F.R. §§ 483.400-483.480 for the definition of and
regulations pertaining to an intermediate care facility for the mentally retarded.
        2
          It is another oddity of this case that the institution at issue is funded and regulated by
one department of the executive branch of the federal government while another department of
the executive branch contends that its conditions are so deplorable as to violate rights guaranteed
to the institution’s residents by the United States Constitution. More pointedly, the United States
simultaneously funds Conway Human Development Center, certifies it as eligible for those
federal funds, and contends that the conditions there are so deplorable as to be unconstitutional.

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Arkansas Office of Long-Term Care3 for 539 beds. Tr. 533 (A. Richardson); Tr. 845 (A. Green);

Pl.’s Ex. 229. Conway Human Development Center provides medical care, dental care, physical

therapy, speech therapy, occupational therapy, special education, habilitation, and recreational

services. Tr. 535, 642 (A. Richardson). It employs approximately 1200 persons on a 409-acre

campus that includes thirty-two cottages, school buildings, a chapel, a gymnasium, a pool, an

infirmary, and other buildings. Tr. 533 (A. Richardson); Pl.’s Ex. 229. The Center serves

individuals with a wide range of disabilities through its various programs and has a number of

procedures and policies in place to ensure that it is meeting the needs of its residents effectively.

       1.       The Residents of Conway Human Development Center

       Residents of Conway Human Development Center are impaired in a number of ways. The

large majority of those residents are classified as profoundly or severely mentally retarded.4 Tr. 5810

(K. Walsh). Most of them also have psychiatric disorders as well as additional impairments or

disorders. On July 31, 2009, 509 persons ranging in age from seven to seventy-two resided at the

Center. Pl.’s Ex. 229. Of those 509 residents, 399 were classified as profoundly mentally retarded;

77 were classified as severely mentally retarded; 25 were classified as moderately mentally retarded;

7 were classified as mildly mentally retarded; and 1 resident, pursuant to a respite, or short-term,

admission, was described as functioning at a borderline level. Pl.’s Ex. 229. Fifty-two of the

       3
        The Office of Long-Term Care is a state agency that, among other things, regulates
intermediate care facilities for the mentally retarded.
       4
          Mental retardation is significantly subaverage general intellectual functioning
accompanied by significant limitations in adaptive functioning. Diagnostic and Statistical
Manual of Mental Disorders 39-49 (4th ed. 2000 Text Revision). “Mild mental retardation”
refers to an intellectual quotient level of 50-55 to approximately 70; “moderate mental
retardation” refers to an intellectual quotient level of 35-40 to 50-55; “severe mental retardation”
refers to an intellectual quotient level of 20-25 to 35-40; and “profound mental retardation” refers
to an intellectual quotient level below 20 or 25. Id. at 42-44.

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residents had autism; 171 had aggressive, destructive, or self-injurious behaviors; 319 had dual

diagnoses (i.e., developmental disabilities and psychiatric diagnoses); 137 had fragile health; 307

had seizure disorders; 229 had cerebral palsy; 190 were non-ambulatory; 35 were hearing impaired;

21 were deaf; 129 were vision impaired; 36 were blind; 277 of the residents required devices (e.g.,

wheelchairs, braces, or orthotic devices) to maintain body alignment; and 484 required modified

diets. Pl.’s Ex. 229.

       Conway Human Development Center is the only human development center operated by the

State of Arkansas that provides services to children. Tr. 764-66 (J. Green). In July of 2009, fifty-

two of the residents at the Center were school-aged children, Pl.’s Ex. 229, and at the time of trial,

forty-eight of the residents were under the age of twenty-one, Tr. 846 (A. Green). Many of these

children came to Conway Human Development Center as a result of maladaptive behaviors.5 Tr. 846

(A. Green); Tr. 2272 (S. Thibadeau). They previously lived at home, in foster care, in group homes,

or in other such settings and may have attended public schools. Unfortunately, their maladaptive

behaviors proved to be more than their caregivers and school officials could manage, so their parents

or guardians sought to have them admitted to Conway Human Development Center. Tr. 2272 (S.

Thibadeau); Tr. 3263-65 (M. Catron); Tr. 4055-57 (T. Kastner); Tr. 5145-49 (D. Nye); Tr. 5607-08

(B. Gale); Tr. 6212 (L. Kraus); Tr. 6616-18 (K. Priest); Tr. 6724-25 (B. Brewer). Some of the

children are in the custody of the Division of Child and Family Services due to neglect, physical

maltreatment, or sexual maltreatment. Tr. 6724 (B. Brewer).




       5
        Here and in many places in this opinion, the Court uses the terminology commonly used
by witnesses at trial.

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       2.       Admission to and Discharge from Conway Human Development Center

       Admission to Conway Human Development Center occurs only after certain requirements

are met. Generally, a parent or guardian applies for admission to the Center on behalf of the child

or ward and retains the right to withdraw the child or ward.6 Before a person can be admitted to

Conway Human Development Center, a determination must be made that the Center is the least

restrictive, most integrated environment in which the services needed by that person can be provided

appropriately. Tr. 4310 (T. Kastner); Tr. 5145 (D. Nye); Defs.’ Ex. 912, Division of Developmental

Disability Services Policy No. 1086 § II(d)1.

       In the twenty-six month period between January of 2008 and February of 2010, thirty-seven

persons were admitted to Conway Human Development Center. Tr. 4335 (T. Kastner). Also during

that time period, forty-four persons entered the Center for respite, or short-term, care rather than

admission. Tr. 4336 (T. Kastner). Over a forty-six month period—between July 1, 2006, and

March 17, 2010—seventy-two persons were discharged from Conway Human Development Center,

which represents an average of almost two discharges per month. Tr. 5981 (K. Walsh). From July

of 2009 through mid-October of 2010, six residents of the Center were discharged, as were fifteen

persons who had entered for respite care. Tr. 6768 (A. Green). At the time of trial, sixty-five

persons were on a waiting list for admission to Conway Human Development Center. Tr. 647


       6
         The Division of Developmental Disability Services has procedures for court-ordered
admissions, but no evidence was presented that any resident of Conway Human Development
Center has been admitted pursuant to court order. If the Division of Developmental Disability
Services or the superintendent of Conway Human Development Center determines that voluntary
discharge presents a danger to the individual or others, either may initiate legal proceedings. No
evidence was presented that legal proceedings have been instituted to prevent a parent or
guardian from removing a child or ward. Cf. Porter v. Knickrehm, 457 F.3d 794, 798-99 (8th
Cir. 2006) (holding that a guardian’s decision to admit the ward, a moderately retarded adult, to a
human development center in Arkansas was a “voluntary” admission).

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(A. Richardson); Tr. 4310 (T. Kastner); Tr. 5980 (K. Walsh).

        3.        Parents and Guardians of Residents of Conway Human Development
                  Center

        Many, if not most, of the parents and guardians of the residents of Conway Human

Development Center keep themselves informed regarding the Center. They have formed the Conway

Human Development Center Parents’ Association, which is comprised of parents and guardians who

are concerned about the Center, its residents, its staff, and what is happening in human development

centers around the state. Tr. 5055 (L. Taylor). The association meets quarterly. Tr. 5056

(L. Taylor). Many of the same parents and guardians are also members of a statewide organization,

Families and Friends of Care Facility Residents, which is an umbrella group for all of the parent and

guardian groups of the human development centers in the State of Arkansas. Some of the members

of the statewide group have developmentally disabled family members who receive services in the

community rather than in facilities like Conway Human Development Center. Tr. 5058 (L. Taylor).

Together, the two parent organizations filed an amicus brief in opposition to the plaintiff’s claims

in this action.

        According to the individual program plans and other evidence introduced at trial, the parents

and guardians of residents of Conway Human Development Center are overwhelmingly satisfied

with the services there and believe that the Center is the least restrictive, most integrated placement

appropriate for their children and wards. Tr. 482 (S. Murphy); Tr. 4328-29 (T. Kastner). Ninety-

seven percent of the parents and guardians of residents at Conway Human Development Center who

responded to a survey stated that they were satisfied or very satisfied with the services that their

children and wards receive. Tr. 4328 (T. Kastner); Tr. 5956-57 (K. Walsh). Six persons who were

parents or guardians of residents of Conway Human Development Center testified at trial. Two of

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the six were nurses. All six of them testified that they were pleased with the services offered by

Conway Human Development Center. Tr. 1502 (A. Fortney); Tr. 3249 (E. Stoddard); Tr. 3273-74

(M. Catron); Tr. 5069-70 (L. Taylor); Tr. 6832-34 (M. Black); Tr. 6850-52 (B. Landen). None of

the six had any criticism of Conway Human Development Center.

       4.      Teams at Conway Human Development Center

       The residents of Conway Human Development Center are divided into five “teams,” which

are groups of residents assigned to a designated area with a specific group of employees responsible

for their training and care. Defs.’ Ex. 910, Conway Human Development Center Policy No. II-A-1.

The teams are, in order from the highest functioning residents to the residents with the greatest

developmental disabilities, as follows: the Habilitation and Training Team, the Sheltered Living

Team, the Individual Assistance Team, the Intensive Training Team, and the Total Care Team.

       The Habilitation and Training Team consists of the residents at Conway Human

Development Center who function at the highest intellectual level of those admitted to the facility.

Their level of intellectual function ranges from the higher profound level of intellectual disability

to the moderate level of intellectual disability, with some school-aged children functioning at the

mild level. The majority of them are placed at Conway Human Development Center because of

maladaptive behaviors. Tr. 1663 (C. Price); Tr. 6723-26 (B. Brewer).

       The Sheltered Living Team consists of residents who function at the profound to mild or

moderate level of intellectual disability. A large number of them have seizure disorders, issues

related to swallowing, and maladaptive behaviors. Tr. 1663 (C. Price).

       The Individual Assistance Team consists of residents who function in the lower profound to

upper profound level of intellectual disability. Many of them have maladaptive behaviors and



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seizure disorders. They have low self-help skills and require manipulation in almost everything that

they do. Tr. 1663-64 (C. Price).

       The Intensive Training Team consists of residents in the lower profound level of intellectual

disability. They have many maladaptive behaviors and seizure disorders. Their skill level is below

that of the residents on the Individual Assistance Team. They require total assistance with self-help

and daily living skills. Tr. 1664 (C. Price).

       The Total Care Team consists of residents who are in the profound level of intellectual

disability and have severe medical conditions. They are the most medically fragile residents at

Conway Human Development Center. They typically are non-ambulatory. Many of them have

major swallowing issues, and most of them are fed by a tube. They require total assistance with

everything that they do. Tr. 1664 (C. Price).

       Each of the five teams has a manager who is known as the team leader. The team leader is

responsible for reviewing, monitoring, and approving programs and supervising the staff that is

responsible for the residents on that team. Tr. 6722-23 (B. Brewer); Pl.’s Ex. 279.

       5.      Interdisciplinary Teams and Individual Program Plans

       Each resident at Conway Human Development Center is served by an interdisciplinary team

(which should not be confused with the teams into which residents are placed). A resident’s

interdisciplinary team consists of persons from various disciplines who provide services to that

resident. Each interdisciplinary team includes a program specialist7 who is a qualified mental




       7
        The current title for this position is “program specialist,” but the position was formerly
known as “social service worker” or “social worker.” Conway Human Development Center
employs twelve program specialists.

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retardation professional;8 the resident’s parent or guardian; a member of the direct care staff; the

psychological examiner assigned to that resident; and other professionals who provide service for

that particular resident, such as a physical therapist, an occupational therapist, a speech language

pathologist, or a primary care physician. Tr. 636 (A. Richardson); Tr. 4860, 4901-03 (S. Murphy);

Tr. 5017 (G. Miller).

       Each resident’s interdisciplinary team prepares an individual program plan for that resident

describing the resident’s needs as well as a program for addressing those needs.9 Defs.’ Ex. 910,

Conway Human Development Center Policy No. II-D-1. An individual program plan includes

information submitted by the various professionals and direct care staff who provide services to that

resident.   The plan includes information about the resident’s social history, psychological

assessment, medical care, dental care, medications, auditory assessment, nutritional status, dysphagia

assessment, speech assessment, physical therapy assessment, occupational therapy assessment,

special education, residential assessment, recreational interests, and other assessments as specified

by the interdisciplinary team. Tr. 4901-07 (S. Murphy); Defs.’ Ex. SM-5; Defs.’ Ex. 910, Conway

Human Development Center Policy No. II-D-1 at 5. Each individual program plan includes a

transition plan and takes into consideration the resident’s rights, the strengths of the resident, the

needs of the resident, the problems and liabilities of the resident, and the resident’s personal, long-



       8
          A qualified mental retardation professional is a person who has at least one year of
experience working directly with persons with mental retardation or other developmental
disabilities and is either a doctor of medicine or osteopathy, a registered nurse, or a person who
holds at least a bachelor’s degree in one of several fields identified in the applicable regulation,
42 C.F.R. § 483.430. Those fields include psychology, social work, pathology, special
education, and rehabilitation counseling.
       9
        A large number of individual program plans were introduced into evidence. See Pl.’s
Exs. 101-1 through 206.

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range goals. Pl.’s Ex. 101-1 through 206.

       Each resident’s interdisciplinary team meets at least annually to review the resident’s

individual program plan. In addition to the annual meeting, the interdisciplinary team may meet as

needed for what Conway Human Development Center calls “special staffing.” Tr. 4860, 4866, 4869-

70 (S. Murphy). Special staffing occurs when a resident has significant maladaptive behaviors,

medical issues, or other indications that some aspect of the individual program plan should be

reconsidered.

       6.       Behavior Plans

       In addition to their individual program plans, residents at Conway Human Development

Center who have maladaptive behaviors usually have a safety plan, a positive behavior support plan,

and a separate description of strategies to be used by staff in dealing with them.10 A safety plan is

a plan for restraints, restrictions, or both. Tr. 5795 (K. Walsh); Defs.’ Ex. 910, Conway Human

Development Center Policy No. II-D-16. A positive behavior support plan is a plan to identify,

develop, and support positive behavior. Tr. 5795-96 (K. Walsh); Tr. 6562 (K. Priest). Strategies

direct staff as to how to best work with the residents. Tr. 5795-96 (K. Walsh); Tr. 6561-62

(K. Priest); Defs.’ Ex. 910, Conway Human Development Center Policy No. II-D-16. In September

of 2009, 99 residents of Conway Human Development Center had safety plans, 33 had positive

behavior support plans, and 295 had strategies. Tr. 5803 (K. Walsh).

       7.       Human Rights Committees

       Conway Human Development Center has five human rights committees, one for each team,


       10
          Conway Human Development Center policy considers behaviors as “maladaptive” “if
they present a danger to self or others, to property, or interfere with habilitation and inclusion in
the community.” Defs.’ Ex. 910, Conway Human Development Center Policy No. II-D-9.

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which review and approve specific treatment and behavioral interventions. Tr. 5010 (G. Miller).

The human rights committees are comprised of a chairperson; a vice chairperson; center

representatives; consumer representatives; and non-affiliated, community representatives. Tr. 5009

(G. Miller); Tr. 5934 (K. Walsh); Defs.’ Ex. 910, Conway Human Development Center Policy No. I-

F-4. Conway Human Development Center psychological examiners are assigned to each of the

human rights committees in a nonvoting role to provide information and consultation to the voting

committee members. Tr. 5009 (G. Miller); Tr. 5934 (K. Walsh).

       The human rights committees review issues of residents’ rights (such as the right to privacy),

medical diagnoses, medications, behavior plans, safety plans, and individual program plans. They

also review and decide whether to approve behavior plans that involve the use of restrictive or

intrusive procedures. Defs.’ Ex. 910, Conway Human Development Center Policy No. I-F-4. Prior

to submission to a human rights committee, behavior plans are developed as follows: the

interdisciplinary team establishes an objective and a plan; the psychological examiner formulates the

behavior intervention plan; and the team leader, chief of psychology, and primary care physician

review the plan. Then, written and informed consent is obtained from the parent or guardian.

Tr. 5849 (K. Walsh). If the human rights committee does not approve a behavior plan, the

interdisciplinary team must correct any impediment to approval that is identified. Tr. 5850

(K. Walsh). If the human rights committee approves a behavior plan, it is sent to the superintendent

for his approval, and then staff and other Conway Human Development Center personnel are

instructed on how to implement the plan. Tr. 5850 (K. Walsh). The psychological examiners train

the staff as to how to implement the plan. Tr. 6589-90, 6599-6600 (K. Priest); Tr. 6677-78 (E.

Glenn); Defs.’ Ex. 910, Conway Human Development Center Policy No. II-D-16 at 4, 11, 14.



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        8.      Incident Review Committees

        In addition to the human rights committees, Conway Human Development Center has

another group of oversight committees called “incident review committees.” Each of the five teams

has an incident review committee, and there is also a central incident review committee. Tr. 5936

(K. Walsh). The team incident review committees meet Monday through Friday, Tr. 5014-15 (G.

Miller); Tr. 5936 (K. Walsh), while the central incident review committee meets monthly, Tr. 5936

(K. Walsh); Pl.’s Ex. GM-1. The incident review committees review reports of injuries, deaths,

disruption of services to clients, patterns and trends, safety concerns, property damage, and

workman’s compensation-related issues.           Pl.’s Ex. GM-1; Defs.’ Ex. 910, Conway Human

Development Center Policy No. I-F-15.

        Conway Human Development Center is required to report to a State of Arkansas database

incidents of maltreatment of residents by staff, fractures, cuts and lacerations that require stitches,

bruises that require x-rays, client-to-client bites if there is a skin break or if an antibiotic is required,

swellings, sprains if there are x-rays, abrasions and burns that require the application of medication

or ointment, medication errors that require medical treatment, and certain other types of incidents.

Tr. 5938-39, 5943 (K. Walsh); Defs.’ Ex. 910, Conway Human Development Center Policy No. I-E-

12; Defs.’ Ex. 911, Arkansas Department of Human Services Policy Manual §§ 1090 et seq.; Defs.’

Ex. 912, Division of Developmental Disability Services Policy No. 1027. Minor bumps and bruises

are not reportable. Tr. 5938 (K. Walsh). The incident review committees review the incidents that

must be reported to the state database. Tr. 5936-37 (K. Walsh).

        The central incident review committee at Conway Human Development Center performs a

second review of incidents that were reviewed by the team incident review committees. The central



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committee also provides oversight review for identifying trends and policy directions. It produces

a quarterly incident report summary, which is a statistical report showing all incidents that occurred

in the prior quarter. Tr. 5937-38 (K. Walsh).

       9.      Physical Therapy

       Conway Human Development Center employs a staff of physical therapists who are licensed

by the State of Arkansas, are assisted by physical therapy aides and assistants, and perform a number

of functions at the Center. Tr. 5251-52 (L. Hancock). The physical therapy department performs

assessments of new residents upon admission and reassesses them periodically during their

residency. Tr. 5251 (L. Hancock). The department also provides wheelchair modifications, power

wheelchair training, and wound care. In addition, the department hosts an orthopedic clinic each

month. Tr. 5251 (L. Hancock). The department trains direct care staff in proper positioning and

lifting and performs spot checks to determine whether direct care staff are complying with the

training. Tr. 5254-55 (L. Hancock). The physical therapy department also prepares positioning

programs for each resident in need of positioning services. Tr. 5263-64 (L. Hancock). Among other

things, the positioning services are designed to avoid decubitus ulcers, also known as pressure ulcers,

and to help prevent choking during mealtime. Tr. 5277-81 (L. Hancock).

       Conway Human Development Center operates a physical therapy orthotics shop at which it

constructs custom-made wheelchairs and other orthotics devices for the residents. Each device is

form-fitted to the resident who will use it. Tr. 5265-69 (L. Hancock). Very few residential facilities

have on-site orthotics shops. Tr. 3469 (M. Schmeler). A resident at Conway Human Development

Center who needs a custom-made wheelchair can have one constructed and properly fitted to that

resident’s specific needs within approximately two days. Tr. 5269 (L. Hancock). Mark R. Schmeler,



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Ph.D., an expert in occupational therapy specializing in assistive technology, described the turn-

around rate at Conway Human Development Center’s orthotics shop as “lightning speed.” Tr. 3474-

76 (M. Schmeler). When such a custom-made wheelchair or other device is ordered from a

commercial vendor, the process may take four to six months. Tr. 5271 (L. Hancock).

B.     FINDINGS OF FACT REGARDING ALLEGED VIOLATIONS OF THE
       FOURTEENTH AMENDMENT

       The plaintiff’s first claim for relief is that many of the conditions at Conway Human

Development Center violate the constitutional rights of the Center’s residents. Specifically, the

plaintiff alleges that Conway Human Development Center’s efforts to keep its residents safe and free

from undue restraint substantially depart from generally accepted practices. The greater weight of

the evidence is to the contrary.

       1.      Allegations that a Pattern and Practice of Abuse and Neglect and a
               “Culture Of Silence” Exist at Conway Human Development Center

       The plaintiff alleges that Conway Human Development Center has a pattern and practice of

abusing and neglecting its residents and that a “culture of silence” exists permitting abuse and

neglect. That allegation is contrary to the greater weight of the evidence.

       Carla Jo Osgood, called as an expert witness for the plaintiff, provided unconvincing

testimony that abuse and neglect of residents is rampant at Conway Human Development Center

and that a “culture of silence” prevails such that employees over time become reticent to report abuse

and neglect. Osgood had no formal education in any field relevant to her testimony,11 nor is it




       11
         Osgood has a bachelor’s degree in political science. She has taken graduate courses at
the Cincinnati Bible Seminary and also has studied pastoral counseling. Tr. 41 (C. Osgood). Her
curriculum vitae provides no information about her education, thus tacitly admitting that she has
no formal education in the field of her purported expertise. Pl.’s Ex. 1-1.

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evident that she has any experience that would qualify her to give expert testimony under Rule 702

of the Federal Rules of Evidence. See Tr. 37-41, 204-12 (C. Osgood); Pl.’s Ex. 1-1.

       In her testimony, Osgood made mention of “generally accepted standards” but did not

identify any source where such standards could be found other than the regulations that govern

intermediate care facilities for the mentally retarded, which she regarded as outdated. Tr. 279-80

(C. Osgood). She testified that “the standards of practice are fluid over time and could have changed

at any time in the last four months, twelve months, what have you.” Tr. 222 (C. Osgood). She did

not refer to texts, journals, or other sources that would reflect shared knowledge among people who

would qualify as experts in a particular field. Her testimony did not seem to connect to any

identifiable body of knowledge or any identifiable discipline from which generally accepted

standards might be ascertained. She stated that she had toured approximately thirty facilities in

fifteen states, but she neither identified the facilities nor gave any description of them from which

the Court could determine whether those facilities were comparable to Conway Human Development

Center. She also provided no quantitative analysis comparing rates of abuse and neglect at Conway

Human Development Center to rates at similar facilities or to any benchmarks. Tr. 269-72

(C. Osgood). Osgood leaped to the conclusion that a “culture of silence” exists at Conway Human

Development Center based on the fact that, in a few instances, the staff member reporting

maltreatment had worked at the facility less than six months and based on the fact the Center

disciplines employees who fail to report maltreatment immediately, as the Center’s policy requires.

Tr. 156-61, 168, 181, 183 (C. Osgood).

       Even disregarding the issues relating to Osgood’s credibility, her testimony is contradicted

by the greater weight of the evidence, which demonstrates that no pattern and practice of abuse and



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neglect exists at Conway Human Development Center.

        To begin with, Conway Human Development Center has specific policies in place designed

to protect its residents from maltreatment. Defs.’ Ex. 910, Conway Human Development Center

Policy No. I-E-10. Conway Human Development Center policy defines “maltreatment” as including

but not limited to “physical, verbal, psychological, or sexual abuse, neglect, exploitation,

misappropriation of property, and violation of rights of individuals requiring services.” Id. § I.4.

Potential employees are screened for a history of maltreatment, and employees are trained on issues

relating to maltreatment. Tr. 4872 (S. Murphy); Tr. 4990-94 (G. Miller); Tr. 6534-38 (J. Buck);

Defs.’ Ex. 910, Conway Human Development Center Policy No. I-E-10 §§ A.1 and A.2. Conway

Human Development Center policy requires that employees make an immediate report of any

instance of maltreatment to the administration. Defs.’ Ex. 910, Conway Human Development Center

Policy No. I-E-10 § B. The Center enforces this policy. Tr. 158-59, 179 (C. Osgood); Tr. 4872-73

(S. Murphy).

        Conway Human Development Center also adheres to the Arkansas reporting laws, which

require that state officials be notified of instances of abuse. If the victim of the alleged abuse is a

child, the child abuse hotline12 is called, and if the victim of the alleged abuse is an adult, the adult

abuse hotline is called.13 Tr. 4995 (G. Miller); Tr. 6873 (C. Price). The police are notified, as are

the Office of Long-Term Care and the Arkansas Attorney General’s Office. Tr. 4995 (G. Miller);

Tr. 6873 (C. Price).

        In addition, Conway Human Development Center has procedures in place for reporting and

        12
             See Child Maltreatment Act, Ark. Code Ann. §§ 12-18-101 to 12-18-1108.
        13
        See Adult and Long-Term Care Facility Resident Maltreatment Act, Ark. Code Ann. §§
12-12-1701 to 12-12-1721.

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investigating allegations of maltreatment.      Maltreatment incidents are reported to the shift

coordinator if they occur after hours or to the team leader if they occur during business hours.

Tr. 4994 (G. Miller). When a report is made, the resident who suffered the alleged maltreatment is

checked medically, the staff member is suspended, and an investigation is conducted by a person

whose sole job is to investigate maltreatment allegations. Tr. 6873 (C. Price). At the time of trial,

the investigator at Conway Human Development Center was an attorney. Tr. 4992 (G. Miller). The

investigations are thorough and prompt. Tr. 5944-46 (K. Walsh); Tr. 6740 (B. Brewer). After the

investigative report is completed, it is forwarded to the superintendent’s office for executive review.

Tr. 4996 (G. Miller); Tr. 6874 (C. Price). The superintendent makes the final determination of

whether credible evidence supports the allegation of maltreatment and forwards that determination

to the team, along with written directives for the team to carry out. Tr. 4996 (G. Miller); Tr. 6874

(C. Price). If credible evidence supports the charge of maltreatment, the employee responsible for

the maltreatment is immediately terminated. Tr. 232 (C. Osgood); Tr. 6740-42 (B. Brewer);

Tr. 6875 (C. Price); Defs.’ Ex. 910, Conway Human Development Center Policy No. I-E-10 § F.

       The annualized rate of substantiated instances of maltreatment at Conway Human

Development Center is .054, which is comparable to published rates for other facilities. Tr. 5948-49

(K. Walsh). This fact supports the finding that there is no pattern and practice of abuse and neglect

at the Center.

       Moreover, the testimony of parents and guardians of residents at Conway Human

Development Center also supports the finding that there is no pattern and practice of abuse and

neglect at the Center. When a resident is involved in an incident of aggression, maltreatment, or

injury, the Center notifies the parent or guardian unless the parent or guardian has specifically



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directed otherwise. Tr. 3236 (E. Stoddard); Tr. 3269, 3282 (M. Catron); Tr. 4868-69 (S. Murphy);

Tr. 5033-34 (G. Miller); Tr. 5059 (L. Taylor). Parents and guardians are permitted to visit the Center

unannounced. Tr. 3232 (E. Stoddard); Tr. 3270 (M. Catron); Tr. 5059 (L. Taylor). Even though they

are permitted to visit unannounced, no parent or guardian of any resident, past or present, testified

that he or she had reason to believe that Conway Human Development Center has a pattern or

practice of permitting residents to be abused or neglected.

       To the contrary, parents and guardians testified that the staff at Conway Human Development

Center genuinely care about the residents and immediately report any issues that arise.

       The first witness called for the defense was Earline Stoddard, whose forty-four-year-old son

is a resident of Conway Human Development Center. Tr. 3230 (E. Stoddard). At the time of trial,

Ms. Stoddard was an adjunct instructor for the School of Nursing at Baptist Health. She has worked

in the nursing field for more than forty years. Tr. 3230 (E. Stoddard). Ms. Stoddard often makes

unannounced visits to the Center to visit her son, and she has never seen anything that would cause

her to be alarmed or upset. “I can tell you when he was in a school in Kansas, we were never

allowed to go back to the cottage to see him. They always brought him to us. That’s one thing I like

about Conway [Human Development Center], is you can go see your child any time you want to.”

Tr. 3233 (E. Stoddard). Ms. Stoddard testified, “[I]t’s so important to me to know that the people

who are caring for [my son] love him and will take care of him and are held responsible for it.”

Tr. 3247 (E. Stoddard).

       Melissa Catron’s son also is a resident of Conway Human Development Center. He was

nineteen years old at the time of trial and had been a resident for more than four years. Tr. 3261-62

(M. Catron). Ms. Catron is a registered nurse. She testified that the Center works with her son on



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everything she could possibly want. She believes that he is loved there. “I don’t feel like anybody

is there against their will to work with him. I’ve just not seen that. Everyone I’ve seen there that

works with him wants to be there, that’s what they want to do, and they seem to care about the kids.

I’m thrilled.” Tr. 3274 (M. Catron).

        The defendants also called as a witness Larry Taylor, who is the guardian of his fifty-eight-

year-old younger sister. “Tests show that [my sister] functions at about two years and nine months.”

She was fourteen years old when she was admitted. Tr. 5050 (L. Taylor). Mr. Taylor has lunch with

his sister on a weekly basis. “I can rely on them to call me any time there’s an injury. And that

means a bruise of 2 inches, a scratch, a fall from bed.” Mr. Taylor could not recall a time when he

noticed that his sister had suffered an injury that he did not already know about. Tr. 5059

(L. Taylor).

        Michael Black’s fourteen-year-old son was admitted to Conway Human Development Center

when he was eight or nine. Tr. 6824 (M. Black). “They call if he gets a bruise or a bump or has an

incident. They call and let us know that he fell and scraped his knee . . . . They call and tell us that

he’s fine, you know, we put a Band-Aid on it, we gave him a hug and a kiss, and he’s back to being

a normal little child.” Tr. 6833 (M. Black). “All the workers there . . . most of them that we know

of have children of their own. . . . We’re happy that he’s in an environment where we know he’s safe

and he’s going to get good sound medical care while he is there.” Tr. 6833-34 (M. Black).

        Barry Landen is the guardian of his brother, who is fifty-five years old and has been a resident

of Conway Human Development Center for more than forty years. Tr. 6842 (B. Landen). Landen’s

brother was born blind.

        [My brother] is an extraordinarily fragile individual. His balance, as I said, it’s just
        terrible, and it’s very easy for him to fall and hurt himself. . . . he doesn’t understand

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        the concept of putting your fingers over the door when you slam will cause you a
        huge amount of injury. So the fact that nothing serious has happened to [my brother]
        in 40 years of living there is extraordinarily significant to me.

Tr. 6851 (B. Landon).

        The testimony that staff members at Conway Human Development Center genuinely love

and care for the residents is inconsistent with the allegation that there is a pattern and practice of

abuse and neglect of residents at the Center.

        Just as no parent or guardian testified to facts that would indicate a pattern or practice of

abuse and neglect at Conway Human Development Center, similarly, no past or present employee

offered any testimony indicating that such a pattern or practice of abuse or neglect exists. If a pattern

or practice of abuse or neglect exists at Conway Human Development Center, some past or present

employee would know of it and would have testified about it. Tr. 4873-74 (S. Murphy). If a “culture

of silence” prevails such that present employees are disinclined to report abuse and neglect, some

former employee would know of it and would have testified about it. No past or present employee

testified that Conway Human Development Center has or has had a pattern or practice of permitting

residents to be abused or neglected. No past or present employee testified that a “culture of silence”

exists at Conway Human Development Center or that employees of the Center are reluctant to report

abuse or neglect.

        In fact, Johnny Lee Matson, Ph.D., who was called by the plaintiff as an expert witness in

the field of psychology, testified that the psychology staff at Conway Human Development Center

consists of “very nice people” who “were trying very hard” and “doing the best they could.”

Tr. 1072 (J. Matson). Even though Dr. Matson believes that the technical skills of the psychology

staff at the Center are deficient, he did not hesitate to say that they are good people who are doing



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their best, an observation that cannot be reconciled with the allegation that a pattern of abuse and

neglect prevails.

       Other witnesses described the staff at Conway Human Development Center as consisting of

people who genuinely care for the residents and exhibit a loving attitude toward them. For example,

Louis Kraus, M.D., who testified as an expert in child psychiatry, described the cottage personnel

at Conway Human Development Center as follows:

       They were amazing. . . . I’ve seen a lot of different facilities over my professional
       career. Most of the cottage staff had been there for years, and they were not just
       there, in my opinion, because it was a job. They truly loved taking care of these kids.
       They would coddle them, they would hold them. There was a warmth with the staff
       that I observed during the day and early evening shifts, which I felt was very
       impressive. They also, I think it’s important, they had an understanding of the kids.
       Like, for example, one child that we talked about, TM, that had the orchiectomy, that
       staff really knew this child. They knew when people came up to him too quickly,
       that he’ll get anxious. They knew that when he’s cold, he shakes, and he likes it
       when it’s warmer out. They knew things about this child. And in each of the
       cottages and dorms, that’s what you found. That’s something refreshing, as opposed
       to people looking at their watches for the end of their shift.

Tr. 6225-26 (L. Kraus). Derek Nye, Ph.D., an expert in special education, testified:

       I’m from New Jersey. There seems to be in my experience an edginess that exists all
       along the shoreline from Boston to Baltimore. And I see that edginess sometimes in
       our field, and it disappoints me on the east coast where staff have perhaps lost their
       focus as to why they are doing what they are doing. And I have seen it, quite frankly,
       in facilities I’ve worked at . . . . And I saw it in some of the developmental centers
       in New York and New Jersey specifically. And I had a fear that I would . . . see it
       here, too. Why not? And I was – pleasantly surprised is an understatement. I was
       overwhelmed by the caring attitude, by the compassion . . . and not just the special
       educators. People from the boardroom to the washroom, they place these individuals
       at the center of everything. They understood that they were there because these
       individuals needed their assistance. And they never violated that trust. My
       experience is they didn’t violate that trust. And it was very impressive. And I saw
       that throughout in the classroom.
                                              * * *
       [T]here was a relationship, there was trust, there were students that were comfortable.
       Without being able to cite specifics, I believe certainly in my mind it’s a given that
       students who feel they are safe, they are comfortable, that they are loved, are going

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        to have a greater capacity to learn and to love and to trust back. And I saw that given.
        People may argue that’s an intangible and perhaps it is, but when you’ve taught and
        you’ve been involved in as many places as I have in 36 years, you know it when you
        see it, and I saw it every day.

Tr. 5120-21 (D. Nye). Even if some of those who testified believe that the technical skills of the staff

at Conway Human Development Center are deficient—as Dr. Matson does—it is not plausible to

say that employees at the Center genuinely care for the residents and exercise their best efforts to

attend to the residents’ needs while tolerating a pattern and practice of abuse and neglect about which

they remain silent.

        The greater weight of the evidence proves that no pattern and practice of abuse, neglect, or

maltreatment of residents exists at Conway Human Development Center, and no “culture of silence”

exists there. The evidence proves that Conway Human Development Center exercises reasonable

care to prevent and to stop abuse, neglect, and maltreatment.

        2.      Allegations that Conway Human Development Center’s Use of
                Restraints Violates Residents’ Rights

        Contrary to the plaintiff’s allegations, and for the reasons that follow, the Court also finds

from the greater weight of the evidence that Conway Human Development Center’s use of restraints

does not violate the constitutional rights of its residents.

        Residents of Conway Human Development Center engage in aggression toward others, self-

injurious behavior, tantrums, destruction of property, ingestion of non-edible objects, and the like,

which can be dangerous to the resident engaging in the behavior as well as to other residents and

staff or property. The Center sometimes uses mechanical restraints including papoose boards,

restraint chairs, restraint jackets, mittens, and helmets to contain dangerous behavior. Defs.’ Ex.

910, Conway Human Development Center Policy No. II-D-12 at 2-3.



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        If the use of restraints is to be a part of the program for a resident at Conway Human

Development Center, the interdisciplinary team must prepare a safety plan and a positive behavior

support plan. Tr. 6652 (K. Priest). Pursuant to the Center’s written statement of residents’ rights,

mechanical restraints may be used when less restrictive interventions have failed and when

“absolutely necessary to prevent the individual from injury to himself/herself and to others.” Defs.’

Ex. 910, Conway Human Development Center Policy No. I-D-5 at 4. Conway Human Development

Center’s policy on the use of planned restraints provides, “An individual may require the use of

emergency or planned restraint . . . to contain behavior that is dangerous to self, others, or property.

Unless clinically contraindicated, the use of restraint is a last resort containment measure preceded

by less restrictive measures.” Defs.’ Ex. 910, Conway Human Development Center Policy No. II-D-

12 at 1. The policy also provides:

        Containment Restraint: Orders for restraint are time limited and shall not
        exceed one hour and 50 minutes for an adult or one hour for a child or
        adolescent. The individual is immobilized until calm by an approved device or
        devices which prevent movement of the body or parts of the body and/or normal
        function, not to exceed 15 minutes without an extension approved and documented
        by the QMRP14/designee, preferably after face-to-face attention. Unless otherwise
        determined by the IDT,15 QMRP/designee, extensions will be obtained every 15
        minutes until the individual is calm. The IDT should define what constitutes calm
        behavior for this individual when used in a behavior program. Unless determined
        clinically contraindicated by the QMRP/designee, should time in restraint reach 55
        minutes, the individual must be released for five minutes for the opportunity for
        motion, liquid intake, or toileting. Should time restraint reach 1 hour and 50 minutes,
        the individual must be released for at least 10 minutes for the previously listed
        activities. If this 10-minute release is judged to be a danger to the individual
        and/others, additional staff should be called to ensure safety for all concerned.
        Constant supervision is required.

Id. at 3 (bold, italics, and underlining in the original). The planned use of mechanical restraints must

        14
             Qualified Mental Retardation Professional.
        15
             Interdisciplinary Team.

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be reviewed and approved by the chief psychologist, the human rights committee, the primary care

physician, the superintendent, and the parent or guardian. Tr. 6563-64 (K. Priest); Defs.’ Ex. 910,

Conway Human Development Center Policy No. I-D-5 at 7.

       In addition to the use of mechanical restraints as a part of a safety plan, Conway Human

Development Center permits the use of mechanical restraints as an emergency measure to protect

the resident or other residents from injury. The incident must be documented, and notice must be

given to the interdisciplinary team, the child psychologist, the superintendent, the human rights

committee, and others. An individual placed in a mechanical restraint must be monitored at least

every fifteen minutes and must be given an opportunity for motion and exercise for at least five

minutes during each hour. The unplanned use of mechanical restraints must be reviewed by the chief

psychologist, the human rights committee, the primary care physician, the superintendent, and the

parent or guardian. Defs.’ Ex. 910, Conway Human Development Center Policy No. II-D-13.

       While the use of mechanical restraints is troubling, psychologists called by both the plaintiff

and the defendants agreed that it is sometimes necessary to use mechanical restraints when providing

care for persons with the disabilities and psychiatric disorders found at Conway Human

Development Center. Tr. 1180, 1248-49 (J. Matson); Tr. 5565 (B. Gale); Tr. 5855-56 (K. Walsh).

The regulations that govern intermediate care facilities for the mentally retarded provide for the use

of restraints within certain limits and with specified controls. See 42 C.F.R. § 483.420(a)(6) (2011)

(requiring facilities to ensure that residents are free from unnecessary restraints and are provided

active treatment to reduce the need for physical restraints); 42 C.F.R. § 483.440(f)(3)(iii) (requiring

a facility to have a committee consisting of staff, parents and guardians, and unaffiliated persons to

review, monitor, and make suggestions regarding the use of physical restraints, among other things);



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42 C.F.R. § 483.450(b)(1)(iv)(B) (requiring a facility to adapt and implement policies and procedures

regarding the use of physical restraints for the management of inappropriate behavior); cf. 42 U.S.C.

§ 290ii (2006) (governing the use of restraints in facilities that receive federal funds). The policies

of Conway Human Development Center comply with these regulations. The Center’s use of

mechanical restraints is consistent with the regulations that govern intermediate care facilities for

the mentally retarded and is not a substantial departure from generally accepted professional

standards.16 Tr. 5565-72 (B. Gale); Tr. 5854-60, 5871 (K. Walsh).

        Conway Human Development Center has made and is making a conscientious effort to

reduce the use of mechanical restraints. Implementation of a program of safety plans, positive

behavior support plans, and strategies is part of that effort. From 2005 until the time of trial, the use

of mechanical restraints at the Center declined by sixty-nine percent. Tr. 5798, 5865 (K. Walsh).

In September of 2009, sixty-two residents had contingent restraints in their plans, which is

approximately twelve percent of the residents. Tr. 5868 (K. Walsh). In other words, eighty-eight

percent had no restraints whatsoever in their plans. From July of 2008 through July of 2009, eighty-

eight percent of the incidents of restraints involved three individuals. Tr. 5868 (K. Walsh). At the

time of trial, restraints had been removed from the plans of two of those three individuals. Tr. 5869




        16
           Carla Jo Osgood testified for the plaintiff that the use of restraints at Conway Human
Development Center substantially departs from generally accepted standards. As with her
testimony regarding abuse and neglect, her testimony regarding the use of restraints was
unpersuasive. Osgood performed no quantitative analysis comparing rates of injury at Conway
Human Development Center to rates of injury at similar facilities or to any other benchmarks.
Tr. 247-48 (C. Osgood). Nor did she provide any evidence that she was qualified to testify as an
expert regarding restraint use. More credible testimony criticizing the Center’s use of restraints
was offered by psychologists called as expert witnesses for the plaintiff, but for the reasons stated
in this section and in the succeeding section of these findings, that testimony was insufficient to
meet the plaintiff’s burden of proof.

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(K. Walsh).

       Based on the greater weight of the evidence, the Court finds that no pattern and practice

exists at Conway Human Development Center of using restraints without sufficient safeguards and

supervision to ensure that the safety, welfare, and civil and human rights of residents are adequately

protected; and the Court finds that the use of restraints at the Center does not represent a substantial

departure from generally accepted standards applicable to intermediate care facilities for the mentally

retarded.

       3.      Allegations that Psychological Services at Conway Human Development
               Center Substantially Depart from Generally Accepted Standards

       Although the plaintiff alleges that the psychological services at Conway Human Development

Center substantially depart from generally accepted standards, that allegation was not proven by the

greater weight of the evidence.

       Johnny Lee Matson, Ph.D., and Ramasamy Manikam, Ph.D., testified for the plaintiff that

the psychological services offered at the Center depart substantially from generally accepted

standards in a number of ways, but the Court had difficulty in ascertaining to what standards they

referred and what they meant when they testified that a practice was a substantial departure from

those standards. It appeared that when they used terms such as “departures from generally accepted

standards,” they meant that the practices at Conway Human Development Center were not the best.

That interpretation of their testimony was confirmed to some extent by Dr. Matson. On cross-

examination, Dr. Matson testified that a substantial departure is the same thing as failing to meet best

practices. Tr. 1219 (J. Matson). Although he modified that statement on redirect examination,

Tr. 1301, 1327 (J. Matson), it still appeared to be an accurate description of the opinions offered by

himself and Dr. Manikam, i.e., that the practices at Conway Human Development Center were not

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the best practices. For example, at one point Dr. Matson criticized one of the psychological

examiners for using bar charts rather than graphs to record behavioral incidents of residents who

have behavior plans. Tr. 1145-46 (J. Matson). Dr. Matson also said that something could be a

standard even if only ten percent of the professionals in his field were doing it. Dr. Manikam

testified, “In this field, [the] standards are fluid. It’s not a body that is setting the standard.”

Tr. 3155 (R. Manikam). In the end, the Court concluded that Drs. Matson and Manikam were

correct that the provision of psychology services at Conway Human Development Center could be

improved, nor is it likely that anyone would argue to the contrary. The fact that psychology services

at Conway Human Development Center could be improved does not mean, however, that the

professionals who provide those services have departed so substantially from generally accepted

standards that it cannot be said that they are exercising professional judgment.

       The Court finds from the greater weight of the evidence that the professionals who are

providing psychological services at Conway Human Development Center are exercising professional

judgment and that their practices are within the boundaries of generally accepted professional

standards. Psychological services are provided at Conway Human Development Center by ten

psychological examiners licensed by the State of Arkansas. Tr. 1936-37 (C. Reddig). The chief

psychologist, Dr. Carl Reddig, has an Ed.D. in psychology. Tr. 1938-39 (C. Reddig); Pl.’s Ex. 557.

The licensed psychological examiners have master’s degrees in psychology, Tr. 1937 (C. Reddig);

Tr. 6550 (K. Priest); Tr. 6672 (E. Glenn); Tr. 6712 (W. McKindra), and six of them are licensed to

practice independently, Tr. 6689 (E. Glenn). Their qualifications meet the standards imposed by the

regulations that govern intermediate care facilities for the mentally retarded. See 42 C.F.R.

§ 483.430(b)(5)(v). Conway Human Development Center’s practice of hiring master’s level,



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licensed psychological examiners is within the bounds of generally accepted practice at intermediate

care facilities for the mentally retarded. Tr. 5875-76 (K. Walsh).

       The evidence established that some and perhaps all of the psychological examiners at

Conway Human Development Center lack formal training in applied behavioral analysis. The

regulations that govern intermediate care facilities for the mentally retarded, however, do not require

psychologists to have formal training in applied behavioral analysis.                See 42 C.F.R.

§ 483.430(b)(5)(v). The evidence fails to show that it is a substantial departure from generally

accepted practice for psychological services at such a facility to be provided by psychological

examiners who do not have formal training in applied behavioral analysis.

       The evidence also fails to prove that the practices followed and procedures used by the

psychological examiners at Conway Human Development Center substantially depart from generally

accepted professional standards. Much of the testimony at trial focused on functional behavior

assessments, which are designed to determine the function that is served by maladaptive behaviors.

Tr. 5794 (K. Walsh). The theory is that if the function of a maladaptive behavior can be determined,

then that function can be served in another way so that the individual will not feel the need to engage

in the maladaptive behavior. Tr. 6563 (K. Priest). These functional behavior assessments are used

in formulating positive behavior support plans and strategies. Tr. 6562-63 (K. Priest). The

psychological examiners at Conway Human Development Center exercise professional judgment

in performing functional behavior assessments and in performing their other duties. Tr. 5828-30,

5836-37 (K. Walsh); Tr. 6566-70 (K. Priest); Tr. 6673-77 (E. Glenn). While it seems likely that

Drs. Matson and Manikam could perform functional behavioral assessments and other duties of

psychological examiners better than some of Conway Human Development Center’s psychological



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examiners, the evidence failed to establish that the functional behavior assessments or other work

of the psychological examiners at the Center substantially depart from generally accepted

professional standards. Tr. 5853-54 (K. Walsh).

       4.      Allegations that Conway Human Development Center Fails to Provide
               Adequate Medical Care

       Although the plaintiff alleges that Conway Human Development Center has a pattern and

practice of providing inadequate medical care to its residents, the greater weight of the evidence

disproves that allegation.

       At the time of trial, Conway Human Development Center had a staff of four full-time primary

care physicians: Denise Thomas, D.O., who serves as the medical director; Patricia Parmley, M.D.;

Jarrett Lea, M.D.; and Sam Schultz, M.D. Tr. 1724 (D. Thomas); Tr. 5482 (P. Parmley).

Drs. Thomas and Lea are family doctors, and Drs. Parmley and Schultz are pediatricians.17 Tr. 5449,

5482 (P. Parmley). There was one vacancy on the medical staff at the time of trial. Tr. 6880

(C. Price). After-hours care is provided by another primary care physician, Dr. Gary Stewart, who

resides at the facility. Tr. 1725 (D. Thomas). These primary care physicians are available to provide

medical care to residents of Conway Human Development Center twenty-four hours per day, 365

days per year. Additional physician services, including those of a neurologist, an epidemiologist,

and an infectious disease physician, are provided through a contract with the University of Arkansas

for Medical Sciences. Tr. 6880 (C. Price). In addition to its physicians, Conway Human

Development Center employs approximately twenty registered nurses and eighty-six licensed

practical nurses. Tr. 5382, 5386 (S. Gardner). Not only is the Center sufficiently staffed with


       17
         Dr. Parmley has completed a fellowship in developmental behavioral pediatrics. Tr.
5449 (P. Parmley).

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medical personnel to meet the needs of its residents, but it also provides psychiatric services in a

manner that complies with generally accepted practices, uses and monitors medications

appropriately, and provides medical services that are adequate to protect its residents.

       In making findings related to medical care, particularly psychiatric care, at Conway Human

Development Center, the Court must judge the credibility of the plaintiff’s expert witnesses. Jodie

Holloway, M.D., and Edwin J. Mikkelsen, M.D., who testified for the plaintiff, are board certified

in general psychiatry and in child and adolescent psychiatry. Dr. Holloway is also board certified

in forensic psychiatry. Both Drs. Holloway and Mikkelsen are qualified to give expert testimony in

the field of psychiatry under Rule 702 of the Federal Rules of Evidence. Both are impressive

individuals. Ultimately, however, they were not more believable than the experts called by the

defendants, in part because in some notable instances their conclusions went beyond the scope of

the support offered for those conclusions.

       For instance, Dr. Holloway testified that psychiatric services at Conway Human Development

Center are substandard with respect to children because the Center does not employ a psychiatrist

who is board certified in child and adolescent psychiatry. Tr. 2514-16 (J. Holloway). In support of

that opinion, she cited and read from a policy statement of the American Academy of Child and

Adolescent Psychiatry, which was received into evidence as Plaintiff’s Exhibit 870. Tr. 2516

(J. Holloway). That policy statement on its face applies to hospitals, not to intermediate care

facilities. Tr. 6206-07 (L. Kraus); Pl.’s Ex. 870. Moreover, Dr. Holloway admitted on cross-

examination that the American Academy of Child and Adolescent Psychiatry refers to its policy

statement as “a voice on the issues” and states that the policy is not intended to define a standard of

care. Tr. 2635 (J. Holloway).



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       Dr. Holloway also testified that Conway Human Development Center does not adequately

assess individuals for tardive dyskinesia, a disorder that sometimes develops as a side effect of

psychotropic medications. The percentage of individuals at Conway Human Development Center

with a diagnosis of tardive dyskinesia is low. Tr. 3979 (T. Kastner). Even though Conway Human

Development Center uses the Abnormal Involuntary Movement Scale to assess residents for tardive

dyskinesia, Dr. Holloway testified that the incidents of tardive dyskinesia at the Center must be

greater than the number of persons who have that diagnosis. Tr. 2606-07 (J. Holloway). She

concluded, therefore, that Conway Human Development Center does not adequately assess

individuals for tardive dyskinesia as a side effect of the psychotropic medications used there. That

the percentage of residents at Conway Human Development Center who have a diagnosis of tardive

dyskinesia is low could mean either that the Center fails to identify the individuals with tardive

dyskinesia or that the Center manages psychotropic medications in a manner that minimizes side

effects such as tardive dyskinesia. The evidence failed to show that any resident at Conway Human

Development Center has tardive dyskinesia but has not been diagnosed. Tr. 4701-02 (A. Warren);

Tr. 6214-15 (L. Kraus). Nevertheless, Dr. Holloway insisted that the Center does not adequately

assess residents for tardive dyskinesia.

       Dr. Mikkelsen testified that the overall medical services offered at Conway Human

Development Center are substandard and cited as evidence the fact that the average age of death of

residents at the Center is lower than the average age of death of residents at certain facilities in

Massachusetts and Connecticut. Tr. 3772 (E. Mikkelsen). The evidence established, however, that

those facilities serve a substantially older population than does Conway Human Development

Center, so the facilities are not comparable as to the average age at which residents might die.



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Tr. 3847-48 (E. Mikkelsen); Tr. 4096-97 (T. Kastner). Dr. Mikkelsen also testified that the rate of

deaths due to aspiration pneumonia at Conway Human Development Center supports his opinion

that medical care at the Center is substandard, Tr. 3776-77, 3918 (E. Mikkelsen), but there is no

statistically significant difference between the death rate due to pneumonia at the Center and the rate

at the facilities in Massachusetts to which Dr. Mikkelsen was comparing the Center. Tr. 4100-01

(T. Kastner).

       Dr. Mikkelsen pointed to several examples of Conway Human Development Center’s alleged

failure to monitor the side effects of psychotropic medications, one of which concerned CL, a nine-

year-old boy who was admitted to the Center with a preexisting prescription for Lithium.18 Lithium

is a psychotropic medication with a narrow therapeutic range and severe toxic consequences.

Tr. 5480 (P. Parmley). When CL was admitted into Conway Human Development Center, the

medical staff had some doubt as to whether he had received his Lithium consistently. Tr. 5456

(P. Parmley). They drew blood to ascertain the Lithium level and found that the level was 0.5.

Tr. 4118 (T. Kastner). Staff at the Center then administered the Lithium in accordance with the

prescription that had been written before CL came to the Center. After allowing sufficient time for

the Lithium to reach a stable level, another lab test was conducted and the Lithium level was

determined to be 1.0, which is within what Dr. Mikkelsen called the therapeutic range. Tr. 4118

(T. Kastner); Tr. 5456-57 (P. Parmley). Over the following month, CL had one incident of difficulty

in swallowing, but there was no other record of anything out of the ordinary. Tr. 4119 (T. Kastner).

Approximately one month later, staff observed one evening that CL had an altered gait and took him

to the infirmary. Tr. 5457 (P. Parmley). At the infirmary it was found that he had some upper


       18
            See Tr. 3660-88 for Dr. Mikkelsen’s direct testimony regarding CL.

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respiratory distress. Dr. Stewart, who provides after-hours care in the infirmary, ordered that a check

be taken of the Lithium level. The Lithium level was found to be in excess of 4.0, which is a toxic

level. Tr. 4119 (T. Kastner). CL was kept in the infirmary overnight, and on the following morning

Dr. Stewart ordered a “trough level” test be taken to determine the level of Lithium. The level again

exceeded 4.0, and Dr. Stewart admitted CL to Conway Regional Medical Center. Tr. 4121

(T. Kastner); Tr. 5458 (P. Parmley). At Conway Regional Medical Center, the Lithium level was

again determined to be at a toxic level, and CL was transferred to Arkansas Children’s Hospital in

Little Rock, Arkansas. Tr. 5458 (P. Parmley). His Lithium level was stabilized, and he was found

to have pneumonia. Tr. 4123 (T. Kastner). CL was later discharged and has suffered no ongoing

effects of Lithium toxicity. Tr. 5459 (P. Parmley). According to Dr. Mikkelsen, CL’s Lithium level

continued to increase during the month between CL’s admission into Conway Human Development

Center and the evening when he was first taken to the infirmary. Dr. Mikkelsen believed that the

swallowing incident was probably due to nausea and vomiting, which are signs of Lithium toxicity.

Tr. 3665-66 (E. Mikkelsen). He also testified that CL necessarily had other symptoms of Lithium

toxicity that were not recorded because the staff failed to observe them. Tr. 3678-79 (E. Mikkelsen).

       In contrast, Theodore Kastner, M.D., testified that there was no basis for believing that CL

had Lithium toxicity during the month between his admission to Conway Human Development

Center and the evening when he was taken to the infirmary. Tr. 4125 (T. Kastner). According to

Dr. Kastner, the elevation in CL’s Lithium level likely was the result of pneumonia and dehydration.

Tr. 4123-24 (T. Kastner). Dr. Kastner did not believe that the single incident of difficulty in

swallowing was caused by Lithium toxicity, nor did he find any evidence that CL had symptoms of

Lithium toxicity during that month. Tr. 4126 (T. Kastner). Dr. Kastner, along with another expert,



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Louis Kraus, M.D., concluded that Conway Human Development Center staff carefully monitored

potential side effects of the Lithium and saved CL’s life by quick response to the sudden onset of

Lithium toxicity secondary to pneumonia and dehydration. Tr. 4530 (T. Kastner); Tr. 6218

(L. Kraus). After it was called to Dr. Mikkelsen’s attention that CL had pneumonia, he testified that

the pneumonia was due to aspiration of fluids during the swallowing incident. Nothing in the

medical records indicates that CL aspirated fluids.

       Dr. Mikkelsen’s opinion regarding CL depends upon findings for which there is no evidence

and blames the staff at Conway Human Development Center for failing to record evidence that

would have supported those findings. The evidence at trial established that the staff of Conway

Human Development Center appropriately monitored CL and responded to changes in his medical

condition—they saved his life. Yet, Dr. Mikkelsen criticized the medical care given to CL based

on an assumption that CL had Lithium toxicity for a month before anyone noticed, which is an

assumption unsupported by evidence.

       There were two more examples of a similar nature in the testimony of Dr. Mikkelsen. One

of them involved TN, who had a dramatic decrease in his platelet count after having been on

Depakote for several years.19 Dr. Mikkelsen testified that the dramatic decrease in platelets was

secondary to Depakote, which had been prescribed for TN by a neurologist as a means of controlling

TN’s seizures. According to Dr. Mikkelsen, this was another instance in which Conway Human

Development Center failed to monitor the side effects of psychotropic medication. The evidence

established, however, that the dramatic decrease in platelet count was secondary to an acute

infection, and the platelet count rebounded with treatment of the infection and administration of


       19
            See Tr. 3736-52 for Dr. Mikkelsen’s direct testimony regarding TN.

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steroid medication even though TN continued to receive Depakote. Tr. 4179 (T. Kastner).

Dr. Mikkelsen recognized that the drop in TN’s platelet count could be attributed to the infection but

said that whether the dramatic decrease in platelet count “was solely related to the Depakote or the

Depakote plus the acute illness would be hard to sort out.” Tr. 3752 (E. Mikkelsen). Still,

Dr. Mikkelsen admitted that TN’s platelet count recovered to its baseline level in the face of ongoing

treatment with Depakote. Tr. 3866 (E. Mikkelsen); cf. Tr. 4694-95 (A. Warren). TN thereafter

continued taking Depakote, and yet he did well. Tr. 4179 (T. Kastner). Common sense suggests that

if TN’s platelet count recovered to its baseline level and remained stable thereafter while TN was

taking Depakote, Depakote was not the cause of the dramatic decrease in the platelet count.

       Another example from Dr. Mikkelsen’s testimony concerned CJ, a fifty-nine-year-old woman

who Dr. Mikkelsen testified died from neuroleptic malignant syndrome caused by an increase in her

Haldol prescription.20 Dr. Mikkelsen testified that CJ died from neuroleptic malignant syndrome

even though the medical records do not reflect that she had symptoms typical of that syndrome. One

of the classic symptoms, as Dr. Mikkelsen admitted, is high fever. Although there are a few

instances in the literature of a diagnosis of neuroleptic malignant syndrome without high fever, it is

exceedingly rare. Tr. 3874-75 (E. Mikkelsen); Tr. 4199, 4203 (T. Kastner). CJ’s temperature was

normal or below. Pl.’s Ex. 791-1 to -5. Another symptom is rigidity. Dr. Mikkelsen testified that

the fact that CJ had her knees bent meant that her legs were rigid, which is hardly convincing.

Tr. 3706-08 (E. Mikkelsen); Tr. 4193 (T. Kastner). Another symptom of neuroleptic malignant

syndrome is an oculogyric crisis, which is a spasmodic attack marked by a fixation of the eyes in one

position—usually upward. Tr. 3875-76 (E. Mikkelsen). Nothing in the medical records indicated


       20
            For Dr. Mikkelsen’s testimony regarding CJ, see Tr. 3690-3718.

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that CJ’s eyes were fixated. Tr. 4697 (A. Warren). Dr. Mikkelsen testified that the medical record

failed to state that CJ’s eyes were fixated because the treating physician failed to look at CJ’s eyes.

Tr. 3718, 3876 (E. Mikkelsen). Dr. Mikkelsen was not present when the physician examined CJ,

so he cannot possibly know whether the physician examined her eyes.

       Although Drs. Holloway and Mikkelsen are highly qualified expert psychiatrists, the Court

has concluded that their opinions are not as reliable as the contrary opinions offered by experts called

by the defendants.

               a.      Allegations that Psychiatric Services for Children at
                       Conway Human Development Center Are Inadequate

       The greater weight of the evidence establishes that psychiatric services for children at

Conway Human Development Center comply with generally accepted professional standards.

       Douglas Callahan, M.D., is the consulting psychiatrist at Conway Human Development

Center. Tr. 1729 (D. Thomas). Dr. Callahan is licensed to practice medicine in the State of

Arkansas and is board certified in general psychiatry. The core competency of a board-certified

psychiatrist includes the care of children. Tr. 4224 (T. Kastner). Dr. Callahan has provided

psychiatric services to persons with intellectual and developmental disabilities for more than twenty

years. Tr. 5335-36 (D. Callahan). He serves as a consultant to the primary care physicians. The

residents at Conway Human Development Center who need psychiatric services are referred to

Dr. Callahan, who sees them on campus. Direct care staff and psychological examiners accompany

residents when they are seen by Dr. Callahan, and they provide information to him regarding the

residents’ behavioral symptoms. Tr. 5364-65 (D. Callahan); Tr. 6556-57 (K. Priest). Dr. Callahan

makes diagnoses and recommendations regarding medication and other psychiatric care. His

diagnoses and recommendations are recorded in progress notes, which are forwarded to the primary


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care physicians for review. The primary care physicians then decide whether to implement the

recommendations from Dr. Callahan.         Tr. 5484 (P. Parmley).       Dr. Callahan is on campus

approximately two days each week. He has an office in the same suite of offices as the primary care

physicians. When he is on campus, he regularly sees the primary care physicians, and when he is

not on campus, he is available for consultation by telephone.

       There is a shortage of child psychiatrists in the United States and specifically in the State of

Arkansas. Tr. 4616-18 (D. Fassler); Tr. 6204-05 (L. Kraus). Moreover, very few child psychiatrists

have specific training in dealing with children with developmental disabilities. Tr. 4623-24

(D. Fassler). Psychiatric services are provided to children in the United States most often through

pediatricians or general practitioners. Tr. 4621-22 (D. Fassler).

       The model of care at Conway Human Development Center by which psychiatric services are

provided to children, through the use of a board-certified pediatrician consulting with a physician

who is board certified in general psychiatry, is permitted by the regulations that govern intermediate

care facilities for the mentally retarded, 42 C.F.R. § 483.430(b)(5), and is within the bounds of

generally accepted practice for such facilities. Tr. 4222 (T. Kastner); Tr. 4624-25 (D. Fassler);

Tr. 6212 (L. Kraus). Psychiatric services provided to children at Conway Human Development

Center are consistent with generally accepted professional standards. Tr. 6212-13 (L. Kraus).

               b.      Allegations that Psychotropic Medications                  Are
                       Inappropriately Prescribed to Control Behavior

       Although the plaintiff alleges that Conway Human Development Center overprescribes

psychotropic medications to control behavior, the greater weight of the evidence does not support

that allegation. Psychiatric diagnoses generally are made following the criteria of the fourth edition

of the Diagnostic and Statistical Manual of Mental Disorders. Those criteria often rely upon patient


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reports that persons with mental retardation are unable to give. The reliability of diagnoses of

psychiatric disorders in persons with mental retardation, therefore, is in inverse proportion to the

level of disability. Tr. 3818-19 (E. Mikkelsen); Tr. 4645-46 (A. Warren). In other words, the greater

the level of mental retardation, the less reliable the psychiatric diagnoses. While in general it may

be inappropriate to use medication simply to suppress bad behavior, it is not a substantial departure

from generally accepted professional standards to use medication to treat specific behavioral

symptoms in psychiatric patients with mental retardation, whether or not an identifiable psychiatric

diagnosis can be made. Tr. 3828 (E. Mikkelsen); Tr. 4646, 4679, 4682-83, 4693-94 (A. Warren);

Tr. 6222-24, 6275 (L. Kraus). The regulations that govern intermediate care facilities for the

mentally retarded authorize the use of medication to control inappropriate behavior. 42 C.F.R.

§ 483.450(e). So far as the evidence showed, the use of psychotropic medications at Conway Human

Development Center is consistent with those regulations.21 The use of psychotropic medications at

Conway Human Development Center is not a substantial departure from generally accepted

professional standards. Tr. 4703-04 (A. Warren); Tr. 5450 (P. Parmley); Tr. 6207, 6223-24, 6227

(L. Kraus).

               c.      Allegations that Conway Human Development Center Fails
                       to Monitor Side Effects of Psychotropic Medications

       In addition to allegations of overuse, the plaintiff alleges that Conway Human Development

Center fails to monitor the side effects of the psychotropic medications it prescribes. The greater

weight of the evidence does not support that allegation.

       All medications have potential side effects. In the case of psychotropic medications, those


       21
         The caveat to this statement is that no evidence was presented regarding 42 C.F.R. §
483.450(e)(4)(ii).

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side effects can be serious. Reasonably careful physicians weigh the risks of the side effects of a

particular medication against the benefits that the patient may obtain from the use of that medication.

Dr. Callahan testified, and the Court believes, that at Conway Human Development Center the risk

versus benefit calculation often is done mentally but not recorded in the practicing physician’s notes.

Tr. 5349, 5372 (D. Callahan).

       The use of psychotropic medications at Conway Human Development Center typically is

initiated by a recommendation from Dr. Callahan (unless a client comes to Conway Human

Development Center with preexisting prescriptions for psychotropic medications) and then is

forwarded to the primary care physician who writes the order. Before the prescription is filled, the

use of the psychotropic medication must be reviewed by the interdisciplinary team and the human

rights committee, and it must be approved by the parent or guardian of the resident. The

interdisciplinary team, which includes the primary care physician, discusses what the medication is

expected to accomplish, what the potential side effects are, and the relationship between the potential

risks and the potential benefits. Every resident on psychotropic medication will have taper criteria

which the psychological examiners monitor. Tr. 6614 (K. Priest). After all of the consents are in

place, the primary care physician orders the drug and establishes a laboratory protocol for monitoring

potential problems. Tr. 508-09 (S. Murphy); Tr. 5484-87 (P. Parmley). These safeguards are

reasonably prudent safeguards designed to ensure that the risks of psychotropic medications are

accurately and adequately assessed and weighed against the potential benefits. Tr. 4163-64 (T.

Kastner); Tr. 6221 (L. Kraus).

       The potential side effects of each psychotropic medication are listed in the individual

program plan for each resident to whom psychotropic medications are administered. Tr. 4925



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(S. Murphy). Staff at Conway Human Development Center are trained to watch for symptoms that

may be associated with side effects of psychotropic medications. Tr. 509, 4871-72, 4924-25

(S. Murphy). In addition, when psychotropic medications may result in consequences measurable

through laboratory analyses, monitoring is conducted through laboratory analyses. Tr. 5486-87

(P. Parmley).

       Conway Human Development Center also uses the Abnormal Involuntary Movement Scale

to measure involuntary movements known as tardive dyskinesia. The Abnormal Involuntary

Movement Scale is the most widely used instrument for the screening of tardive dyskinesia.

Tr. 4231 (T. Kastner).

       The monitoring of potential side effects of psychotropic medications at the Center complies

with generally accepted professional standards. No pattern or practice exists at Conway Human

Development Center of failing to monitor for side effects of psychotropic medications. Tr. 4171-73

(T. Kastner).

                d.       Allegations Regarding Polypharmacy

       The plaintiff also takes issue with Conway Human Development Center’s use of

polypharmacy, that is, prescribing two or more psychotropic medications to a resident. Tr. 5342

(D. Callahan). Many of the residents at Conway Human Development Center come to the Center

with psychiatric diagnoses and with prescriptions for multiple psychotropic medications. Tr. 5346

(D. Callahan). The practice at Conway Human Development Center is to attempt to reduce the

number of psychotropic medications as well as the dosage, but that is not always possible. Tr. 5345-

46 (D. Callahan). An effort is made to avoid polypharmacy, but in some instances, in the

professional judgment of the physicians at Conway Human Development Center, the benefits of



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polypharmacy to individual residents outweigh the risks to those residents, and in those instances

polypharmacy is used. Tr. 5346-47 (D. Callahan). In 2010, 278 of the residents at Conway Human

Development Center were prescribed psychotropic medications. Forty-three percent of those

residents were prescribed one psychotropic medication; 33% were prescribed two psychotropic

medications; 17% were prescribed three psychotropic medications; 4.7% were prescribed four

psychotropic medications; and 2 residents (fewer than 1%) were prescribed five psychotropic

medications. Tr. 4153 (T. Kastner).

        The greater weight of the evidence fails to establish that the use of polypharmacy at Conway

Human Development Center is excessive and fails to establish a pattern and practice of inappropriate

or unreasonable use of polypharmacy at the Center.

                e.     Allegations that Inadequate Medical Care Causes
                       Unnecessary Deaths at Conway Human Development
                       Center

        The plaintiff also alleges that many unnecessary deaths have occurred at Conway Human

Development Center due to inadequate medical care, but, again, the greater weight of the evidence

is to the contrary.

        Eldon Schulz, M.D., is the medical director for the Division of Developmental Disability

Services for the State of Arkansas. Tr. 6177 (E. Schulz). He is the Rockefeller Professor for

Children with Special Healthcare Needs, Director of the Dennis Development Center at the

University of Arkansas for Medical Sciences, and a faculty member practicing at Arkansas

Children’s Hospital. Tr. 6178-79 (E. Schulz). Since 2005 he has served as the physician

representative on a committee that reviews all of the deaths of residents of the human development

centers in Arkansas. Tr. 6179, 6192 (E. Schulz). As a member of that committee, he reviewed in



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depth the records pertaining to each death at Conway Human Development Center between 2005 and

the time of trial. In his opinion, which the Court credits and adopts, during that time none of the

deaths of residents at Conway Human Development Center was due to medical malpractice.

Tr. 6192-93 (E. Schulz).

               f.      Conclusion as to Adequacy of Medical Care

       The greater weight of the evidence establishes that Conway Human Development Center

provides adequate medical care, including psychiatric care, to its residents. Tr. 4083-84, 4218

(T. Kastner); Tr. 4649 (A. Warren); Tr. 5456 (P. Parmley). No pattern or practice of medical

negligence or inadequate medical care exists at the Center.

       5.      Allegations that Conway Human Development Center Fails to Exercise
               Care to Prevent Choking

       The plaintiff alleges that Conway Human Development Center fails to take proper steps to

prevent choking incidents among its residents. The greater weight of the evidence, however, proves

that the Center exercises reasonable care to prevent choking.

       First, Conway Human Development Center employs seven speech language pathologists who

work full-time at the center. Tr. 5386, 5417 (C. Johnson). The speech language pathologists are

licensed by the State of Arkansas and have a number of duties, including providing speech-language

therapy services, providing augmentative communication systems, assessing residents for dysphagia,

identifying choking risks, and assisting in issues related to swallowing. Tr. 5387, 5391-92, 5417 (C.

Johnson).

       Second, new employees of Conway Human Development Center are given dysphagia training

in which they are taught to observe silent signs of aspiration, to thicken liquids properly, and to use

adaptive equipment properly. Tr. 5396 (C. Johnson). New employees are taught that each resident’s

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eating plan should be reviewed before assisting that resident at mealtime. Tr. 5396 (C. Johnson).

        Third, Conway Human Development Center takes a number of steps to avoid choking

incidents during mealtime. The Center employs a dietician who is licensed by the State of Arkansas.

Tr. 5316-17 (A. Holbrook). Each resident of Conway Human Development Center has a nutritional

and eating plan that is designed, among other things, to avoid choking incidents. Tr. 5317-18

(A. Holbrook); Tr. 5393-94 (C. Johnson). The Center also uses food service audits and mealtime

monitoring to check for proper positioning, silent aspiration, use of adaptive equipment, and other

factors related to choking and aspiration. Tr. 5393-94 (C. Johnson).

        Fourth, Conway Human Development Center assesses residents for risk of choking using an

assessment tool that has been statistically validated on individuals with developmental disabilities

residing in congregate facilities. Tr. 3304 (J. Sheppard). A choking risk assessment is done each

year in preparation for the annual meeting of the residents’ interdisciplinary teams. Tr. 5407 (C.

Johnson). If a resident chokes, that person is reassessed. Tr. 5407 (C. Johnson). In the assessment,

the resident is identified as either low risk or high risk for pneumonia and choking. Tr. 6395 (L.

Henderson). If a resident scores fifty percent or greater on the assessment for either the choking or

the pneumonia risk, that person is placed in a high risk category. Tr. 6395 (L. Henderson). Also,

if a resident has a choking history, has x-ray evidence of aspiration, or is fed by a tube, those factors

could place the person in a high risk category. Tr. 6395-96 (L. Henderson). The information

regarding a resident’s risk factors is communicated to the program coordinator so that it can be taken

into account on that resident’s twenty-four-hour schedule and the individual program plan by the

interdisciplinary team. Tr. 6396 (L. Henderson). The information is also placed on the dietary sheet

that is used in the living unit and is part of the feeding plan. Tr. 6396 (L. Henderson).



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       Finally, Conway Human Development Center has a central dysphagia committee, which acts

as a consultant and an advisory to the interdisciplinary teams regarding dysphagia and swallowing

disorders. Tr. 6389 (L. Henderson). The committee serves to support and make recommendations

to the teams as well as the primary care physicians. Tr. 6389 (L. Henderson). The central dysphagia

committee reviews all airway events, such as changes in risk factors for choking; choking events;22

difficult swallowing events;23 and cases that are referred by any member of the committee, the

incident review committees, the interdisciplinary teams, or the physicians. Tr. 6389 (L. Henderson).

The committee also reviews cases of pneumonia. Tr. 6389 (L. Henderson). The head of the central

dysphagia committee is Linda Henderson, R.N., whose title at Conway Human Development Center

is “Quality Improvement Nurse.” Tr. 6387-89 (L. Henderson). Other members of the committee

include a staff development nurse, primary care physicians, four speech therapists, three clinical

therapists, a clinic supervisor, an occupational therapist, a physical therapist, a dietician, a human

rights committee chairperson, a living unit supervisor representative, an infection control nurse, an

administrative representative, Conway Human Development Center’s dentist and dental hygienist,

a program coordinator representative, and the director of nursing. Tr. 6402 (L. Henderson). The

central dysphagia committee meets monthly but will sometimes meet more often than once a month



       22
          Conway Human Development Center defines “choking” as a partial or complete
obstruction of the airway due to a foreign body, such as food or non-edibles. The onset of
respiratory distress may be sudden with coughing; there may be agitation in the early stages of
airway obstruction. The signs of respiratory distress include labored, ineffectual breathing until a
person can no longer breathe; loss of consciousness will occur if the obstruction is not relieved.
Tr. 6402 (L. Henderson).
       23
          Conway Human Development Center defines a “difficult swallowing event” as an event
in which no intervention is required; no acute change in vital signs occurs; and there are no
symptoms of airway obstruction, such as change in skin color, eyes protruding, dizziness, change
in level of consciousness, or inability to speak or make a sound. Tr. 6390 (L. Henderson).

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if necessary. Tr. 6392-93 (L. Henderson).

        Prior to a committee meeting, Henderson reviews the clinical record and gathers reportable

information that is used by the central dysphagia committee. Tr. 6391 (L. Henderson). The report

for any particular resident includes a history of choking events; a history of difficult swallowing

events; yearly choking and pneumonia assessment risks; any x-ray studies or diagnoses of

swallowing abnormalities;         and   any types        of   follow-through    studies,    such     as   an

esophagogastroduodenoscopy24 or x-rays of the upper gastrointestinal region.                     Tr. 6391

(L. Henderson). The committee then reviews the resident’s respiratory diagnoses, such as asthma

or chronic rhinitis, and the resident’s history of respiratory disease or distress.                Tr. 6391

(L. Henderson). The committee also reviews spinal issues, such as curvature of the spine, rod or

metal implants, and the like. Tr. 6391 (L. Henderson). The committee looks at the resident’s past

history of pneumonia and aspiration; other gastrointestinal and oral disorders, such as gastrointestinal

reflux disease or gastritis; esophagitis; constipation; ileus or hiatal hernia; gastric ulcers; or H. pylori

infection. Tr. 6391-92 (L. Henderson). The committee also looks for strictures of the esophagus and

gingivitis. Tr. 6392 (L. Henderson). It then considers what precautions and interventions are already

in place and reviews the resident’s food and fluid consistencies and whether the person has altered

means of nutrition, such as a feeding tube. Tr. 6392 (L. Henderson). The committee also reviews

the resident’s oral hygiene care. Tr. 6392 (L. Henderson).

        When a difficult swallowing event occurs, the resident is evaluated by a speech therapist,

usually at the next meal or the next snack after the swallowing event. Tr. 6393-94 (L. Henderson).



        24
         An esophagogastroduodenoscopy is an endoscopic examination of the esophagus,
stomach, and duodenum. Dorland’s Illustrated Medical Dictionary 643 (30th ed. 2003).

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The speech therapist determines whether it is safe for the resident to eat and, if so, what type of diet

is needed and then communicates that information to the dietician. Tr. 6393 (L. Henderson). If the

physician, the dietician, or the speech therapist believes that a swallow study is needed, then it is

ordered. Tr. 6393 (L. Henderson). In 2009, thirty-three percent of the residents of Conway Human

Development Center were referred for a modified barium study, and ninety-one percent of the studies

revealed abnormal swallowing. Tr. 3305 (J. Sheppard).

       Members of the staff at Conway Human Development Center are trained in methods of

clearing a resident’s airway when a choking incident does occur. If a choking event occurs, staff will

immediately provide first aid and make any necessary dietary changes. Tr. 6397 (L. Henderson).

The speech therapist will evaluate and report her findings to the physician as well as to a core

meeting of some of the central dysphagia committee members. Tr. 6397-98 (L. Henderson).

Sometimes a doctor will be called to the scene of a choking event. At other times, the resident will

go to the infirmary after a choking event to be evaluated by a physician. The interdisciplinary team

will have a special staffing to make any necessary changes in the resident’s twenty-four-hour

schedule or treatment plan. The central dysphagia committee will review the incident, and a swallow

study may be conducted. A gastrointestinal physician may be consulted to evaluate the case. Reflux

precautions may be added if they have not yet been instituted.

       Carly Crawford, an expert witness for the plaintiff, testified that members of the staff at

Conway Human Development Center do not exercise generally accepted minimum professional

judgment regarding choking. Tr. 2756-57 (C. Crawford). The Court, however, is not convinced that

Crawford is qualified to testify as an expert regarding professional standards for the prevention of

choking by developmentally disabled persons. Crawford is an occupational therapist with an


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undergraduate degree in deaf education and a master’s degree in occupational therapy. She is

licensed as an occupational therapist in the State of Oklahoma. Tr. 2743 (C. Crawford). She

described occupational therapy as looking “at how an individual uses their hands for daily activities”

and at positions such as sitting or standing for daily activities. Tr. 2741 (C. Crawford). On direct

examination, she said that she was qualified to testify about services other than occupational therapy

because “I have had education relative to health systems, body systems, understand health risks, and

understand anatomy, physiology, and then have been working shoulder to shoulder with speech

pathologists and physical therapists.” Tr. 2742-43 (C. Crawford). Crawford presented no evidence

that convinced the Court that she was qualified to testify as an expert in any area other than

occupational therapy.

       Apart from her lack of qualifications, Crawford’s credibility was called into question by a

lack of care in the manner in which she wrote her report. Cross-examination revealed that

Crawford’s report in this case identified the subject of her report as Beatrice State Development

Center, which is the name of a facility in another state about which she had previously written a

report. She also referred in her report to sections where recommendations would be made and

methodology would be described, but no recommendation section appeared in the report, nor was

her methodology described anywhere in the report. Tr. 2905-07 (C. Crawford).

       Even if the Court disregarded these discrepancies, Crawford’s testimony on choking events

at Conway Human Development Center is unpersuasive. She testified that Conway Human

Development Center has an excessive number of choking episodes, but the only benchmark that she

offered for comparison was that she had recently been to a facility with 250 to 300 residents that had

no choking incidents over a six-month period. Tr. 2768 (C. Crawford). During the 2009 calendar


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year, Conway Human Development Center had eleven incidents of choking.                 Tr. 6439-40

(L. Henderson). The fact that one facility, with a population of 250 to 300 persons, had no episodes

of choking in a six-month period, while some 500 residents of Conway Human Development Center

had eleven episodes of choking in a twelve-month period is insufficient to establish that Conway

Human Development Center fails to exercise reasonable care to prevent choking events. Crawford’s

testimony was inadequate to form the basis for any reliable conclusions.

       Other than Crawford’s testimony that one facility with 250 to 300 residents had no choking

episodes in a six-month period, the plaintiff presented no evidence to establish a benchmark from

other facilities across the United States by which one could determine that the rate of choking at

Conway Human Development Center was unreasonably or unusually large.

       The weight of the evidence suggests that it is not. Cynthia Johnson, a speech language

pathologist employed by Conway Human Development Center, calculated that there are

approximately 548,000 occasions each year when a resident might have a choking event,25 so the

number of choking events is quite small compared to the occasions in which choking is a possibility.

Tr. 5446 (C. Johnson). Justine Joan Sheppard, Ph.D., called by the defendants as an expert in speech

pathology, testified that in 2009 seventy-four percent of the residents of Conway Human

Development Center had a high risk of choking, but only 2.17% experienced a choking event.

Tr. 3304 (J. Sheppard).

       In the past several years, Conway Human Development Center has had one death as a result

of choking. That death occurred in 2008 when a profoundly retarded, fifty-eight-year-old resident



       25
        The calculation was accomplished by multiplying the number of residents by the
number of mealtimes per year and adding one daily medication pass per day per resident.

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went unnoticed into the kitchen and stuffed food into her mouth. Tr. 6440-42 (L. Henderson). At

11:30 p.m., members of the direct care staff working the night shift noticed the resident asleep on

a couch in the day room, went into the bedrooms to check other residents, and then returned to the

day room at 11:35 p.m., by which time the resident had gone into the kitchen and stuffed food into

her mouth. Pl.’s Ex. 6-3. Staff attempted to remove the food from the resident’s mouth, clear the

airway by abdominal thrusts, and administer cardiopulmonary resuscitation. An ambulance arrived

at 11:57 p.m. and took the resident to the nearest hospital where she died of aspiration pneumonia

several days later. Pl.’s Ex. 6-3. While that incident is certainly tragic, no evidence was presented

sufficient to show it is part of a pattern or practice of failing to take precautions to minimize choking

risks.

         Ultimately, the evidence fails to establish a pattern or practice at Conway Human

Development Center of failing to take appropriate and reasonable steps to prevent choking.

         6.     Allegations that Conway Human Development Center Fails to Exercise
                Reasonable Care to Prevent Aspiration Pneumonia

         Similarly, the plaintiff alleges that Conway Human Development Center fails to exercise

reasonable care to prevent aspiration pneumonia, but, yet again, the greater weight of the evidence

is to the contrary.

         Conway Human Development Center provides preventive care for pneumonia by taking an

annual pneumonia risk assessment; by taking reflux precautions, such as keeping residents up for

a period of time after they eat and elevating the head of the bed; by providing oral care; and by

administering a pneumonia vaccination annually. Tr. 5383 (S. Gardner).

         If a resident is suspected of having pneumonia, that person is assessed by a physician who

makes a diagnosis. Tr. 5384 (S. Gardner). If a resident is diagnosed with pneumonia, treatment may

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include an oral or intravenous antibiotic, updrafts, and breathing treatments. Tr. 5384 (S. Gardner).

The resident may be moved into the on-site infirmary or transported to the hospital. Tr. 5385

(S. Gardner).

       Data regarding pneumonia is maintained by Conway Human Development Center’s infection

control nurse, who is a member of the central dysphagia committee. The infection control nurse

gives Linda Henderson, the head of the central dysphagia committee, a list of every resident who has

had a diagnosis, has had an x-ray, or has been in the infirmary or hospital for pneumonia during that

month. Tr. 6413-14 (L. Henderson). The central dysphagia committee reviews cases of pneumonia,

acting in an advisory role to the interdisciplinary team. Tr. 6411-13 (L. Henderson). If a resident

has a case of pneumonia, the central dysphagia committee will follow up with that resident one to

three months after the case of pneumonia to ascertain that resident’s respiratory status. Tr. 6414

(L. Henderson).

       Dr. Mikkelsen testified that the rate of death from aspiration pneumonia at Conway Human

Development Center was excessive compared to facilities in Massachusetts.26 Tr. 3776-77, 3918

(E. Mikkelsen). In 2005, twenty-seven percent of the deaths at Conway Human Development Center

were caused by aspiration pneumonia, while twenty-one percent of the deaths in Massachusetts

facilities were caused by aspiration pneumonia. Tr. 4101 (T. Kastner). Over a two year period, there

were nine deaths at Conway Human Development Center due to aspiration pneumonia and six at the

Massachusetts facilities. Tr. 4101 (T. Kastner). Although there was some difference between the


       26
           Carly Crawford also testified that the number of incidences of aspiration pneumonia at
Conway Human Development Center was excessive. However, as mentioned above, Crawford
was not qualified to testify as an expert in that field, nor did she offer any benchmarks as
evidence from which one could compare Conway Human Development Center with other
institutions.

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number of deaths due to aspiration pneumonia at Conway Human Development Center and facilities

in Massachusetts, the difference between the rates of death is quite small and is not statistically

significant. Tr. 4100-01 (T. Kastner).

       Conway Human Development Center exercises reasonable care to prevent and to detect

pneumonia. Although the plaintiff alleges that the residents of Conway Human Development Center

experience a high rate of aspiration pneumonia, the evidence fails to show that the rate of aspiration

pneumonia at Conway Human Development Center is statistically higher than the rate in other

facilities or among any population with similar risks. Tr. 4079 (T. Kastner). The evidence fails to

establish a pattern or practice at Conway Human Development Center of failing to take appropriate

and reasonable steps to prevent aspiration pneumonia.

       7.      Allegations that Conway Human Development Center Fails to Exercise
               Reasonable Care to Prevent Fractures

       The plaintiff alleges that Conway Human Development Center fails to exercise reasonable

care to prevent fractures, but the greater weight of the evidence establishes that the Center exercises

reasonable care to prevent fractures.

       The population at Conway Human Development Center has an increased risk of osteoporosis

for a number of reasons. In light of this risk, Conway Human Development Center takes a number

of steps to prevent fractures among its residents. The Center uses a DEXA (dual energy x-ray

absorption) meter scan for assessing fracture risks. Tr. 6403 (L. Henderson). The DEXA meter has

x-ray capability and uses computer software to analyze the lumbar spine and hip, determining bone

mineral density and contents. The software compares that information to what would be expected

at peak bone age, which is about thirty years of age; compares previous scores and measurements;

and then takes all of that information and formulates it into a risk assessment. The resident is then

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categorized as not at risk, at increased risk, or at high risk for bone fracture based on the results. The

DEXA meter also includes a photographic representation of the scan of the bones, which shows

spaces and gaps in the bones. Tr. 6403-05 (L. Henderson). Dr. Steve Kemp, an endocrinologist who

consults with Conway Human Development Center, rates these scans and makes the diagnoses of

osteoporosis, osteopenia, or normal scan. Tr. 6405, 6438 (L. Henderson). DEXA meter scans are

conducted every two years, and the primary care physician reviews the DEXA scan results, as does

the interdisciplinary team. Tr. 6405-06 (L. Henderson). Very few intermediate care facilities for the

mentally retarded have an on-site DEXA meter. Tr. 4065 (T. Kastner).

        Some residents are not susceptible to a DEXA scan because of body shape. For those

residents, Conway Human Development Center uses a urine test called an “N-telopeptide,” which

assesses the rate of bone absorption in the urine. Tr. 6407 (L. Henderson). Conway Human

Development Center also may perform other types of testing, such as endocrine testing, testing for

Vitamin D, and testing for calcium. Tr. 6407-08 (L. Henderson).

        In addition to testing for increased risk of fractures, Conway Human Development Center

has procedures in place for treating residents who are at risk. Based on the results of a laboratory

analysis of the resident’s blood, the treatment protocol usually begins with Vitamin D and calcium

treatments. If treatment is required for low bone mineral density, Conway Human Development

Center usually starts with bisphosphonates. Boniva and Fosamax are the two most common

bisphosphonates used at Conway Human Development Center. Other therapies for low bone mineral

density are also used. Tr. 6408 (L. Henderson).

        When a resident experiences a fracture at Conway Human Development Center, Linda

Henderson does a clinical audit. She assesses the risk of osteoporosis and audits the resident’s


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medical records to see if bone fractures have occurred before. Henderson then reviews the results

of any DEXA scans; examines the types of interventions that have been performed; and reviews any

medications related to osteoporosis that the resident receives, including calcium and Vitamin D. She

also ascertains whether the resident is having acute back pain, has had any loss of height, or has

developed kyphosis. From that information, Henderson then formulates a progress note that the

physician will evaluate to see whether additional interventions are needed. Tr. 6410 (L. Henderson).

       At Conway Human Development Center, there were twenty-one fractures reported for 2008

(the last year for which data was available at the time of trial), which translates to a rate of

approximately four fractures per hundred residents per year. Tr. 4082 (T. Kastner). The only

evidence of any benchmarks for comparison was Dr. Kastner’s testimony regarding a published

study of the annual rates of fractures at four intermediate care facilities for the mentally retarded in

New England. At those facilities, the rates of fractures ranged from 13.2 to 15.3 fractures per 100

residents per year. Tr. 4297 (T. Kastner).         Thus, the rate of fractures at Conway Human

Development Center is substantially lower than the fracture rates at other facilities according to the

only benchmark offered for comparison. Tr. 4082 (T. Kastner).27

        Conway Human Development Center exercises reasonable care to prevent fractures.

        8.     Allegations that Conway Human Development Center Fails to Exercise
               Reasonable Care to Prevent Decubitus Ulcers

        The greater weight of the evidence establishes that Conway Human Development Center

exercises reasonable care to prevent decubitus ulcers. From June of 2007 until September 16, 2009,


        27
          Carly Crawford testified that Conway Human Development Center had an excessive
number of fractures. However, as mentioned above, Crawford was not qualified to testify as an
expert in that field, nor did she offer any benchmarks from which one could compare Conway
Human Development Center with other institutions.

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the Center recorded seventy-seven incidents of decubitus ulcers for forty-six residents. There were

thirty-one instances in 2007, twenty instances in 2008, and twenty-six instances in 2009 through

September 16, 2009. The rate of decubitus ulcers at the Center is lower than in comparable facilities

in the United States. Tr. 4065, 4081 (T. Kastner). Most of the decubitus ulcers do not go beyond

stage two, which involves superficial redness and superficial skin break and is a stage at which the

ulcer can be resolved. Tr. 3474 (M. Schmeler). No evidence was offered to show that the

occurrence of decubitus ulcers among the residents of Conway Human Development Center is

excessive compared to similar populations elsewhere.28 Tr. 3470-71 (M. Schmeler).

        9.     Allegations that Conway Human Development Center Fails to Exercise
               Reasonable Care to Protect Residents from Injuries in General

        Residents at Conway Human Development Center do not suffer more frequent or more

serious injuries than comparable populations in other settings. In 2008 and the first half of 2009, the

injury rate at Conway Human Development Center was .41 per person per year. Tr. 5940

(K. Walsh). The per person per year rates of specific injuries at Conway Human Development

Center in 2008 and the first half of 2009 were: for cuts, .16; for fractures, .06; for bruises, .06; for

bites, .02; for swellings/sprains, .03; for abrasions, .03; for burns, .00; and for other injuries, .05.

Tr. 5942 (K. Walsh). Reported injury rates for other institutions range from .36 per person per year

to .65 per person per year. Tr. 5941 (K. Walsh). The rate of injury at Conway Human Development

Center falls into that range. The greater weight of the evidence establishes that Conway Human

Development exercises reasonable care to protect residents from injuries.


        28
         Carly Crawford also testified that Conway Human Development Center had an
excessive number of ulcers. However, as mentioned above, Crawford was not qualified to testify
as an expert in that field, nor did she offer any benchmarks from which one could compare
Conway Human Development Center with other institutions.

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        10.     Allegations that Residents of Conway Human Development Center Die
                at an Early Age Due to Poor Conditions in General

        Contrary to the plaintiff’s allegations, the greater weight of the evidence does not establish

that residents of Conway Human Development Center die at an early age because of substandard

care.

        Over a two-year period, twenty-two residents of Conway Human Development Center died.

The average age of death at the Center during those two years was 46.5 years. Tr. 3772

(E. Mikkelsen).     Dr. Mikkelsen testified that the average age of death at Conway Human

Development Center was lower than the average age of death at facilities in Massachusetts and

Connecticut, from which he concluded that residents of Conway Human Development Center die

at a young age due to substandard care. Tr. 3917-18 (E. Mikkelsen). Dr. Mikkelsen’s reasoning is

flawed, however, because the Massachusetts and Connecticut facilities provide services only to an

elderly population—the residents at those facilities were older than 46.5 years of age, so of course

their average age of death is higher than 46.5. In contrast, Dr. Kastner testified that the mortality rate

at the facilities in Massachusetts and Connecticut was higher than the mortality rate in Conway

Human Development Center, which also would be expected because those facilities serve an older

population. Tr. 3980, 4096-97 (T. Kastner). The facilities in Massachusetts and Connecticut are not

comparable to Conway Human Development Center with respect to a critical risk factor for

death—age—so these comparisons prove nothing.

        The national mortality rate for intermediate care facilities is twenty-two per thousand per

year. Tr. 3980, 4089, 4098 (T. Kastner). The mortality rate at Conway Human Development Center

is twenty-two per thousand per year. Tr. 3980, 4089, 4098 (T. Kastner). Thus, the mortality rate at

Conway Human Development Center coincides with the national average for intermediate care

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facilities.

        The greater weight of the evidence fails to establish that residents of Conway Human

Development Center are exposed to conditions that cause early deaths.

        11.     Conclusion as to Whether Conway Human Development Center
                Provides a Reasonably Safe Environment

        For all of the reasons that have been stated, the greater weight of the evidence establishes that

Conway Human Development Center does not depart from generally accepted practices in its efforts

to keep residents safe and free from undue restraint. Conway Human Development Center is a

reasonably safe facility that does not use undue restraint.

C.      FINDINGS OF FACT REGARDING ALLEGATIONS THAT CONWAY
        HUMAN DEVELOPMENT CENTER VIOLATES THE INTEGRATION
        MANDATE OF THE AMERICANS WITH DISABILITIES ACT

        The plaintiff’s second claim for relief alleges that Conway Human Development Center

violates the Americans with Disabilities Act. Specifically, the plaintiff claims that the Center is not

the least restrictive, most integrated setting appropriate for its residents; fails to give adequate

information to parents and guardians about less restrictive alternatives; and fails to exercise

professional judgment in making its determinations as to whether the Center is the least restrictive

setting for its residents. The greater weight of the evidence does not support these allegations.

        As mentioned above, Conway Human Development Center is certified by the Centers for

Medicare and Medicaid as an intermediate care facility for the mentally retarded, which means that

it is funded through Medicaid. Medicaid is a program through which the federal government

provides financial assistance to states so that they can provide medical care to needy persons.29 In


        29
         See Wilder v. Va. Hosp. Ass’n, 496 U.S. 498, 502, 110 S. Ct. 2510, 2513, 110 L. Ed. 2d
455 (1990).

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order to participate, a state must submit a plan that satisfies certain requirements of the Medicaid

program. However, the Secretary of the United States Department of Health and Human Services

is authorized to waive those requirements so that states can create programs that provide Medicaid-

funded services to persons with long-term disabilities in noninstitutional settings. 42 U.S.C.

§ 1396n(c). Such programs are known as home and community based waiver programs, or simply

waiver programs. If a state chooses to offer Medicaid-funded services through a waiver program,

the state must apply to the Centers for Medicare and Medicaid Services for a waiver of the

requirements of the Medicaid program that otherwise would be imposed.

       Arkansas has a Medicaid home and community based waiver program for persons with

developmental disabilities. Persons who meet the disability requirements for admission to an

intermediate care facility for the mentally retarded and the Medicaid income eligibility requirements

may qualify to participate in the waiver program. Tr. 1412-15 (C. Cromer). The waiver program

provides an alternative to institutionalization. Defs.’ Ex. 410 at 2. Waiver services in Arkansas

include case management, supported employment, supported living, specialized medical supplies,

adaptive equipment, community transition services, and other services. Tr. 1415-18 (C. Cromer);

Defs.’ Ex. 410 at 22-38. Providers of waiver services in Arkansas are licensed by the Divison of

Developmental Disability Services and are compensated according to a daily rate not to exceed $176

per day for supportive living or $391.95 per day for persons who require the highest level of care.

Tr. 806 (J. Green); Tr. 1418, 1429-30 (C. Cromer).

       A state must apply for a certain number of “slots” when it applies for approval for a waiver

program. Tr. 750-52 (J. Green). The number of “slots” is determined by the funds available to pay

for services. Tr. 752 (J. Green). Arkansas has 4083 “slots,” which means that it serves 4083 persons


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through its waiver program. Tr. 1426 (C. Cromer). Although the plaintiff alleges that Arkansas

promotes institutionalization of persons with developmental disabilities, the number of persons

served in the Arkansas waiver program is four times greater than the number of persons served in

the Arkansas human development centers.

       When a person contacts the Division of Developmental Disability Services to inquire about

obtaining services, that person is given a choice of services form that permits the person to apply to

receive services from a human development center, through the waiver program, or both. Tr. 1452

(C. Cromer); Tr. 6776 (A. Green). If a person qualifies for services, that person is placed on a

waiting list. Tr. 1452 (C. Cromer). In 2007, approximately 700 persons were on a waiting list to

obtain services in the Arkansas waiver program. Tr. 778-79 (J. Green). As of April of 2010,

approximately 1400 persons were on the waiting list. Tr. 779 (J. Green). At the time of trial, 1600

or 1700 persons were on the waiting list for waiver services in Arkansas. Tr. 779 (J. Green); Tr.

1441 (C. Cromer). Residents of a human development center who seek waiver services are given

priority, which is to say that if the parent or guardian of a resident of a human development center

seeks placement for the child or ward in waiver services, that resident will go to the top of the

waiting list for waiver services.30 Tr. 695 (A. Richardson); Tr. 780 (J. Green); Tr. 4050 (T. Kastner);

Tr. 6784 (A. Green).




       30
          The plaintiff places a sinister interpretation on the fact that residents of human
development centers are given priority, contending that it encourages parents and guardians to
admit their children and wards to a human development center so as to attain priority on the
waiting list for waiver services, but there is no evidence that any parent or guardian has sought to
have a child or ward admitted to a human development center in order to receive priority on the
waiting list for waiver services. Tr. 4310 (T. Kastner).

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       1.      Allegations that Conway Human Development Center Is Not the Least
               Restrictive, Most Integrated Placement Alternative Appropriate for its
               Residents

       The plaintiff alleges that residents of Conway Human Development Center are segregated

in a restrictive environment where they are deprived of the opportunity to interact with nondisabled

persons, whereas, according to the plaintiff, many, if not all of them, could be served in more

integrated settings. Much of the presentation at trial discussed this issue in terms that presupposed

the outcome: the alternatives were described as “institutionalization” at Conway Human

Development Center or “community placement” through waiver services. “Community placement”

is a term that implies a more integrated, less restrictive setting than does the term “institution,” but

it does not follow from the use of these terms that a resident automatically will have a greater degree

of interaction in community placement, i.e., with a waiver provider, than in an institution such as

Conway Human Development Center. The evidence establishes that residents of Conway Human

Development Center do interact with nondisabled persons—the Center is not a prison with inmates

barred from interaction with the outside world; and conversely, the evidence establishes that

placement with a waiver provider does not guarantee any amount of interaction with nondisabled

persons.

       Residents of Conway Human Development Center participate in activities outside of the

facility. As of July 31, 2009, eleven residents worked at jobs off campus. Tr. 534 (A. Richardson);

Tr. 6731 (B. Brewer); Pl.’s Ex. 229. Some of the residents attend summer programs at the

University of Central Arkansas. Tr. 504 (S. Murphy). Many go off campus for recreational

activities. Tr. 504 (S. Murphy). Off-campus activities include, but are not limited to, going to the

movies, eating out, shopping, bowling, fishing, going to parks, going to the state fair, going to the


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library, attending athletic events at a local university, attending church, going on boy scout outings,

going to pet therapy, and participating in the Special Olympics. Tr. 5958-59 (K. Walsh); Tr. 6732

(B. Brewer); Tr. 6828 (M. Black); Pl.’s Ex. 230. During the first six months of 2009, residents of

Conway Human Development Center participated in 305 off-campus activities sponsored by the

Center. Tr. 5958-59 (K. Walsh).

        In addition to off-campus activities sponsored by the Center, residents of Conway Human

Development Center go off campus for visits with family and friends, sometimes during the day and

sometimes overnight or over a weekend or some other extended period of time. Tr. 3232

(E. Stoddard); Tr. 3284 (M. Catron); Tr. 6828 (M. Black); Tr. 6844-45 (B. Landen). These

interactions with persons off campus can be beneficial, enriching experiences for the Center’s

residents. Tr. 3259 (E. Stoddard). More importantly, these interactions render life at Conway

Human Development Center less restrictive and more integrated for residents.

        Conway Human Development Center also sponsors a panoply of on-campus activities,

including but not limited to arts and crafts, bingo, chapel, Connect Four, cookouts, gymnasium

activities, movies, miniature golf, and pizza parties. Tr. 5959-60 (K. Walsh). During the first

quarter of 2009, there were 592 on-campus activities. Tr. 5959 (K. Walsh). Nondisabled volunteers

also come to Conway Human Development Center to visit and work with the residents. Pl.’s Ex.

1227.

        The evidence does establish that many, if not all, of the residents of Conway Human

Development Center could be served by organizations that provide services through the Arkansas

home and community based waiver program. After reviewing approximately forty individual

program plans of residents of Conway Human Development Center, the plaintiff’s expert Antoinette


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Richardson testified that many of them could be considered for the possibility of placement with a

provider of waiver services. Tr. 528 (A. Richardson). Similarly, four officers of organizations that

provide waiver services in Arkansas reviewed approximately forty-six randomly selected individual

program plans of residents of Conway Human Development Center and concluded that many, if not

all, of them could be served through the waiver program.31 Tr. 868-99 (P. Bland); Tr. 1353-75 (C.

Alberding); Tr. 1526-27 (K. Vire); Tr.1875-76 (J. Lambert).

       Although the defense attempted in some measure to discredit this testimony, that some and

perhaps all of the residents of Conway Human Development Center could receive services through

the waiver program cannot seriously be denied. Indeed, Calvin Price, the superintendent of Conway

Human Development Center, when asked how many of the residents of the Center could be served

through the waiver program, testified, “Maybe they all could with the proper supports . . . . I

possibly think that a lot of our individuals could live in the community if they had the appropriate

resources.” Tr. 1714 (C. Price). That many, if not all, of the residents at Conway Human

Development Center could be served by waiver providers does not, however, ipso facto establish that

a waiver provider is the appropriate placement for a specific resident or that the resident would have

a greater degree of interaction with nondisabled persons in the waiver program.

       Richardson testified that she toured a small intermediate care facility in Central Arkansas,

as well as the Faulkner County Day School, Easter Seals in Little Rock, United Cerebral Palsy in

Little Rock, and Pathfinders in Jacksonville. Tr. 576, 590-91 (A. Richardson). She testified that



       31
          Those four persons were Pamela Bland, Executive Director of First Step, Inc.; Cindy
Alberding, Executive Director of Independent Case Management; Keith Vire, Ph.D., Chief
Executive Officer of Arkansas Support Network; and Jeff Lambert, Assistant Executive Director
for programs for Bost Incorporated.

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some of these providers could provide services such as those needed by residents of Conway Human

Development Center. Tr. 592 (A. Richardson). She did not, however, testify that any of these

placement alternatives would be the appropriate placement for any specific resident of Conway

Human Development Center, nor did she testify that any specific resident of Conway Human

Development Center would have a greater degree of interaction with nondisabled persons if that

resident received services at the smaller intermediate care facility for the mentally retarded or

through one of the providers of waiver services.

       Richardson also visited a former resident of Conway Human Development Center who had

been discharged and was living in an apartment with staffing and nursing help available. Tr. 575 (A.

Richardson). The former resident required a lift to be transferred from a bed to a chair, as well as

special arrangements for bathing and assistance with eating, dressing, and other such necessities of

daily life. Tr. 575 (A. Richardson). Richardson’s testimony did not compare the extent to which the

former resident interacted with nondisabled persons while living alone in an apartment with the

extent to which she interacted with nondisabled persons while living at the Center, nor is it obvious

that this former resident interacts with nondisabled persons to a greater degree while living alone in

an apartment than she did while living at Conway Human Development Center.

       Richardson admitted that “some people can be in a fairly restrictive setting even in a

community placement.” Tr. 693 (A. Richardson). She also admitted that some people have left

residential facilities, lived alone in an apartment, and never integrated at all into the community. Tr.

693 (A. Richardson). Richardson acknowledged that each resident should be studied individually

in order to determine whether that resident should be placed with a provider of waiver services, and

she admitted that she had not performed that type of study. Tr. 700, 708 (A. Richardson). Thus, just


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as it is an error to assume that because Conway Human Development Center is an institution its

residents have no interaction with nondisabled persons, so too is it an error to assume that a

community placement ipso facto precludes the possibility of isolation or automatically provides more

interaction with nondisabled persons than an institutional setting.

        The testimony of some of the parents of Conway Human Development Center residents

highlights the importance of making an individualized determination regarding the appropriate

placement for a developmentally disabled person. The testimony of the parents also makes clear that

it is a mistake to assume that every disabled person would have more interaction with nondisabled

persons through the waiver program than at Conway Human Development Center.

        Alan Fortney, speaking of his stepdaughter who resides at Conway Human Development

Center, testified:

        She likes a lot of people interaction . . . a lot of people say community programs,
        living on your own and all this kind of stuff is the way to go. It would drive her nuts
        to live either by herself or [with only] one or two people. She likes a lot of people
        and a lot of interaction. While we were on this waiver program list, we even
        considered HUD housing and we came to the realization . . . that would drive her
        nuts. She would not be able to handle that.

Tr. 1501-02 (A. Fortney). It is apparent that the Fortneys have carefully considered the needs of their

daughter and have concluded that Conway Human Development Center is the most appropriate place

for her. They have also concluded, based on their daughter’s individual characteristics, that

placement with a waiver provider would not provide their daughter a greater degree of interaction

with nondisabled peers.

        Another parent, Melissa Catron, testified that her son lived at home and attended public

school or a community school until he was fifteen, but “[h]e never was integrated into a regular

classroom, except for . . . assemblies or things like that. He didn’t tolerate being around normal

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children.” Tr. 3263 (M. Catron). As he got older, his behavior problems got worse. Tr. 3263-64

(M. Catron). His violent outbursts eventually reached the point that the Catrons could no longer

keep him at home. Tr. 3268-69 (M. Catron). After several years in the waiver program, the Catrons

placed their son at Conway Human Development Center, and they have found that he does better

with other disabled children than with nondisabled children.32 Tr. 3264-65, 3268-69 (M. Catron).

Catron also testified that Conway Human Development Center is the appropriate placement for her

son, rather than placement with a waiver provider, in part because

       he doesn’t travel well. The fact that all of his classrooms are right there close to
       where he is, his doctors are right there where he is, the dentist, everything he needs
       is right there, he handles that transition much better that way than he would in the
       community. From experience, I just really don’t think that that would be . . . the best
       option for him.

Tr. 3270 (M. Catron). Thus, the Catrons have determined based on their knowledge of their child

that Conway Human Development Center is the appropriate placement for him rather than sending

him back to a waiver provider.

       Earline Stoddard made the point concisely when asked on cross-examination whether she had

found some providers in the community that were not good: “Not where I’d want my son to be.

Might be all right for someone else’s child, but not for mine.” Tr. 3255 (E. Stoddard).

       As Angela Green of Conway Human Development Center testified, “[E]ach person is [an]

individual. They have individual needs, they have their own preferences.” Tr. 6764 (A. Green).

Any decision regarding the least restrictive placement appropriate for a developmentally disabled



       32
          Catron’s experience is not unique. As Price testified, many of the residents of Conway
Human Development Center previously received services through a waiver provider but were
referred to Conway Human Development Center as a more appropriate placement. Tr. 1714-15
(C. Price); see also Tr. 5607-08 (B. Gale).

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person must be based on that person’s individual needs and individual preferences, as demonstrated

by the testimony of the parents, Angela Green, and others.

       No evidence was presented that Conway Human Development Center has refused to

discharge a resident upon request by the parent or guardian or refused to assist in a placement with

a provider of waiver services. If a parent or guardian of a resident of the Center requests placement

with a provider of waiver services, staff will attempt to find one. Tr. 618 (A. Richardson). Residents

who seek discharge from the Center are discharged without significant delay. Tr. 4049 (T. Kastner).

From June of 2007 to July of 2009, eighteen residents were discharged. Seven of those residents

were discharged to another human development center. Six were discharged to the care of

organizations that provide waiver services. Five were discharged to their homes. Pl.’s Ex. 271. In

the two years before trial, eight persons were discharged to waiver services. Tr. 6789-91 (A. Green).

Conway Human Development Center does not have a waiting list of residents seeking discharge.

Tr. 4049, 4331 (T. Kastner).

       That residents of Conway Human Development Center could be served by organizations that

provide waiver services does not establish that the residents would have a greater degree of

interaction with nondisabled persons if they received services from a waiver provider, nor does it

establish that services offered by the waiver provider are the appropriate services for any specific

resident. The plaintiff offered no evidence that any specific placement with a provider of waiver

services was the appropriate placement for any specific resident of Conway Human Development

Center, nor did the plaintiff offer any evidence that any specific resident would have a greater degree

of interaction with nondisabled persons if that resident were placed in a particular program of a

waiver services provider. The plaintiff failed to prove that Conway Human Development Center is


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not the least restrictive, most integrated setting appropriate to the needs of any specific resident.

       2.      Allegations that Conway Human Development Center Fails to Give
               Adequate Information to Parents and Guardians Regarding Waiver
               Services

       The plaintiff alleges that Conway Human Development Center does not provide parents and

guardians with adequate information regarding waiver services, but the evidence proves that it does.

       Before each annual interdisciplinary team meeting, Conway Human Development Center

sends to the parent or guardian a brochure explaining services available through Arkansas’s waiver

program, a list of the providers of waiver services in the State of Arkansas, and a list of waiver

providers in the county where the resident’s family lives. Tr. 501-02, 4898-99 (S. Murphy); Tr. 3244

(E. Stoddard); Tr. 6776 (A. Green). The per county information describes the services provided by

each provider and includes the locations of those services as well as contact information for those

services. Tr. 4899 (S. Murphy); Tr. 6776-77 (A. Green). Conway Human Development Center also

sends each parent or guardian a choice of services form on which the parent or guardian can choose

whether to receive services through the waiver program or from the Center. Tr. 847, 6777-78

(A. Green); Pl.’s Ex. 294; Defs.’ Ex. 406.

       At the resident’s annual interdisciplinary team meeting, staff of the Center discuss whether

the Center is the least restrictive, most integrated placement appropriate for serving the needs of the

resident. Tr. 6728-29 (B. Brewer). As a part of that discussion, staff members ask the parent or

guardian if he or she has received the brochure describing the waiver program and the list of waiver

providers. Staff members also ask the parent or guardian if he or she is interested in pursuing waiver

services. Tr. 502, 4899 (S. Murphy); Tr. 1476 (B. Brewer). Members of the staff at Conway Human

Development Center provide a parent or guardian information to see whether the parent or guardian


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is interested in waiver services. Tr. 3244 (E. Stoddard).

       Members of the staff at Conway Human Development Center take steps beyond the annual

interdisciplinary team meeting to ensure that parents and guardians are informed. Whenever the

Center becomes aware that a waiver provider has an opening in a location near the family of one of

its residents, the Center notifies the family of that opening. Tr. 529, 556 (A. Richardson); Tr. 840

(A. Green); Pl.’s Ex. 264. In the spring of 2010, the Center invited all of the waiver providers in the

State of Arkansas to the campus during a meeting of Friends and Families of Care Facilities

Residents, the statewide parent organization, so that the waiver providers could make information

about their services available to parents and guardians. Tr. 841, 6777 (A. Green); Tr. 923 (P. Bland);

Tr. 1338 (C. Alberding); Tr. 5065-66 (L. Taylor).

       Parents and guardians also learn about alternative services through the two parent association

groups and through social workers in their counties. Tr. 853 (A. Green). Many of the parents and

guardians have looked into alternative services before or during placement at Conway Human

Development Center. Tr. 853 (A. Green); Tr. 3239, 3243, 3245 (E. Stoddard). They are well-

informed as to the availability of waiver service. Tr. 4050-51 (T. Kastner). Parents and guardians

of residents of Conway Human Development Center make informed decisions as to whether

residents should be treated at the Center or discharged to an alternative placement. Tr. 853

(A. Green); Tr. 4008 (T. Kastner).

       Conway Human Development Center does not prevent any resident from moving to an

alternative placement. The Center adequately informs parents and guardians of the nature and scope

of the home and community based waiver program in Arkansas, and it provides the parents and

guardians with a comprehensive list of waiver providers, including contact information. The greater


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weight of the evidence establishes that Conway Human Development Center provides adequate

information to parents and guardians to enable them to make informed decisions regarding

placement.

       3.      Allegations that the Staff Members at Conway Human Development
               Center Fail to Exercise Professional Judgment in Determinations as to
               the Least Restrictive Placement Alternative

       Finally, the greater weight of the evidence establishes that staff members at Conway Human

Development Center make professional judgments in determining the least restrictive placement

appropriate for each resident. The members of the interdisciplinary teams, including the parents and

guardians, typically agree that Conway Human Development Center is the least restrictive placement

alternative appropriate for serving the needs of the residents. Tr. 482, 497 (S. Murphy); Tr. 837 (A.

Green); Tr. 1464 (L. Brewer); Tr. 6729-30 (B. Brewer). Although the professionals often do not

recommend placement with a waiver provider unless requested to do so by the parents or guardians,

Tr. 402 (J. Weaver); Tr. 547 (A. Richardson); Tr. 836-37 (A. Green), they frequently encourage

guardians to consider placement with waiver providers, Tr. 6785 (A. Green), and they have

recommended placement with a waiver provider without a prior request from a parent or guardian,

Tr. 4896-97 (S. Murphy); Tr. 6729 (B. Brewer). On at least two occasions, professionals at the

Center have recommended community placement when the parent or guardian disagreed. Tr. 855

(A. Green). The professionals exercise professional judgment in determining whether Conway

Human Development Center is the least restrictive, most integrated placement alternative appropriate

to serve its residents’ needs. Tr. 4007-08, 4041, 4086-88, 4329, 4403 (T. Kastner); Tr. 5999-6001

(K. Walsh).




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D.     ALLEGATIONS THAT CONWAY HUMAN DEVELOPMENT CENTER
       VIOLATES THE INDIVIDUALS WITH DISABILITIES EDUCATION ACT

       The plaintiff’s third claim for relief is for alleged violations of the Individuals with

Disabilities Education Act, which requires certain institutions to provide a free appropriate public

education in the least restrictive setting appropriate to school-aged children with disabilities. At the

time of trial, Conway Human Development Center had forty-eight school-aged residents and a total

of fifty-three children in its special education classes.33 Tr. 5096 (D. Nye).

       The parties presented conflicting expert testimony on the issue of whether Conway Human

Development Center complies with the Individuals with Disabilities Education Act. The plaintiff

called as an expert witness Susan Thibadeau, Ph.D., while the defendants called Derek Nye, Ph.D.,

and Bruce Gale, Ph.D. All three were qualified as experts and all three testified credibly.

       Dr. Thibadeau’s ultimate conclusion was that Conway Human Development Center did not

meet its obligation under the Individuals with Disabilities Education Act to provide each child with

a free appropriate public education. Tr. 2176 (S. Thibadeau). She testified that many of the children

were receiving only ninety minutes per day of special education services, or 450 minutes per week,

which she believed was inadequate. Tr. 2176, 2187 (S. Thibadeau). Although the students,

according to Dr. Thibadeau, nominally spent more than six hours per day in special education

services, much of that time was actually spent in habilitation classes that were neither taught nor

supervised by special education teachers. Tr. 2193, 2221-22 (S. Thibadeau). Furthermore,

Dr. Thibadeau did not believe that the special education teachers at Conway Human Development

Center received adequate supervision or sufficient ongoing training. Tr. 2182-83, 2336-40


       33
          Five of the children were at Conway Human Development Center on respite, or short-
term, status and were not actually residents of the Center. Tr. 5096 (D. Nye).

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(S. Thibadeau).

       Dr. Thibadeau also testified that Conway Human Development Center did not educate

children in the least restrictive environment, as required by the Individuals with Disabilities

Education Act. She testified that several of the children had mild cognitive disabilities and came to

Conway Human Development Center because of behavioral problems, but with the improvement

of the behavioral problems at the Center, she believed that those children could transition to a less

restrictive environment. Tr. 2181, 2304-13 (S. Thibadeau).

       In addition, Dr. Thibadeau criticized the assessment test used at Conway Human

Development Center and the quality of the individualized education plans, including the transition

plans. Tr. 2177, 2818-82, 2222-40 (S. Thibadeau). As a part of her criticism of the transition plans,

Dr. Thibadeau testified that there was no indication that adult service agencies participated in

transition planning. Tr. 2299 (S. Thibadeau). Dr. Thibadeau also “had concerns” about the

“integration of different therapies,” saying that the psychological examiners did not spend enough

time in the classrooms. Tr. 2180 (S. Thibadeau). She also “had some concerns” about the students’

“quality of life,” referring specifically to the fact that nineteen of the forty-five children whose

records she reviewed were not toilet trained and several were eating chopped or pureed food instead

of being taught to eat more slowly. Tr. 2180-81 (S. Thibadeau).

       Needless to say, the experts for the defendants disagreed with Dr. Thibadeau’s conclusions.

Their ultimate conclusion was that Conway Human Development Center complied with the

Individuals with Disabilities Education Act and specifically that it provided a free appropriate public

education. Tr. 5097 (D. Nye); Tr. 5585, 5659, 5690 (B. Gale). Contrary to Dr. Thibadeau, they

testified that the amount of time spent in special education classes each day was adequate to comply


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with the requirements of the Individuals with Disabilities Education Act. Tr. 5100-01, 5152-53

(D. Nye); Tr. 5551-53 (B. Gale). They disagreed that the assessment tool used by the Center was

inappropriate. Tr. 5156-57 (D. Nye); Tr. 5587 (B. Gale). Dr. Nye testified that Conway Human

Development Center is the least restrictive environment for the children there.34 Tr. 5155 (D. Nye).

       The Arkansas Department of Education is charged with monitoring schools in Arkansas and

enforcing compliance with the Individuals with Disabilities Education Act.             In January of

2010—after Dr. Thibadeau had completed her report—the Arkansas Department of Education

officially investigated Conway Human Development Center for compliance with that Act. The

Arkansas Department of Education issued its official report on June 16, 2010, in the form of a letter

to Calvin Price, Superintendent of the Center. Tr. 2988 (M. Harding); Pl.’s Ex. 1104. The report

found that Conway Human Development Center was in substantial compliance with the least

restrictive environment requirements of the Individuals with Disabilities Education Act, as well as

some of the other significant requirements of the Act, but that there were fifteen areas of

noncompliance. Pl.’s Ex. 1104.

       Several of the areas of noncompliance involved procedural or technical requirements that

readily can be remedied. Tr. 5167 (D. Nye). For example, Conway Human Development Center

was found not to be in compliance with the requirement that evaluation procedures be completed and

a written report submitted to the Arkansas Department of Education within sixty days from receiving

formal consent from a parent or guardian. Pl.’s Ex. 1104 at 1; Tr. 2995 (M. Harding). Another area

of noncompliance related to the fact that in its evaluations the Center used categories applicable to

the Medicaid program rather than categories applicable to the Individuals with Disabilities Education


       34
            Dr. Gale was not called as an expert on the least restrictive environment issue.

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Act. An example of this type of noncompliance given at trial was that the Center would classify a

child as having cerebral palsy, whereas the proper category for special education purposes would be

“health impaired” or “multiply disabled.” Tr. 2996 (M. Harding).

       Not all of the criticisms by the Arkansas Department of Education are merely technical.

First, the Arkansas Department of Education found that the individualized education plans at

Conway Human Development Center did not sufficiently take into account special factors that

impede a child’s learning, such as maladaptive behaviors, lack of English proficiency, impaired

vision or hearing, and the like; did not adequately address the unique needs of each child; and did

not adequately plan for children’s transition after secondary school. Pl.’s Ex. 1104 at 2; Tr. 3000-05

(M. Harding). In regard to transition planning, it appeared that representatives of other agencies

were not invited to meetings to discuss post-secondary goals and transition services. Tr. 2990-92

(M. Harding); Pl.’s Ex. 1104. Second, the Arkansas Department of Education found that Conway

Human Development Center failed to provide a free appropriate public education because it failed

to meet the required ratio of teachers to pupils. Tr. 3009-10 (M. Harding). For students whose

primary program is special education, the teacher to pupil ratio should be one to fifteen, one to ten,

or one to six, depending on how much time, attention, and related services each child needs. Tr.

3010 (M. Harding). Although the record is not as explicit on this point as the Court would like, it

appears that for most of the children at Conway Human Development Center the requirement is no

more than six pupils to every one teacher; the Center had more than six pupils per teacher. Third,

the Arkansas Department of Education found that Conway Human Development Center was not

providing a free appropriate public education because children did not spend sufficient time in

school receiving special education services. The Arkansas Department of Education seemed to agree


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with Dr. Thibadeau that many of the children at Conway Human Development Center were receiving

only ninety minutes per day of special education. Tr. 3012-14 (M. Harding); Pl.’s Ex. 1210. Fourth,

the Arkansas Department of Education found that Conway Human Development Center failed to

provide a free appropriate public education because it failed to adopt “promising educational

practices proven effective through research and demonstration for the provision of special education

instruction.” Tr. 3015 (M. Harding); Pl.’s Ex. 1104 at 15. As explained at trial, this finding means

that teachers at Conway Human Development Center were not acquainted with some of the more

current types of strategies, interventions, and programs that can be effective with children like those

served at the Center, and no system was in place to keep teachers current. Tr. 3017 (M. Harding).

       In short, the Arkansas Department of Education found that Conway Human Development

Center did not adequately plan special education for each child, did not provide the children with

adequate time in special education classes, did not provide an adequate number of teachers, and did

not provide for continuing education adequate to enable the teachers to do their job well.

       As noted above, the monitoring by the Arkansas Department of Education was conducted

after Dr. Thibadeau had submitted her report, and the persons who conducted the monitoring

reviewed Dr. Thibadeau’s report. Tr. 3033 (M. Harding). It is apparent that the monitors from the

Arkansas Department of Education examined the program at Conway Human Development Center

with a view toward determining whether the criticisms made by Dr. Thibadeau were accurate or not,

and they did so using a process that was systematic and impartial. Tr. 3026-33 (M. Harding). They

confirmed many but not all of Dr. Thibadeau’s criticisms. After considering all of the evidence, the

Court is persuaded that the findings of the Arkansas Department of Education are true. The finding

that Conway Human Development Center educates children in the least restrictive environment is


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supported not only by the testimony of Dr. Nye but also by the determination of each child’s

individual education plan team—a team that consists of the persons who are best situated to make

that decision regarding that child. The findings that Conway Human Development Center has failed

to provide adequate plans and has failed to include other agencies in transition planning is supported

by the testimony of Dr. Thibadeau. The finding that children spend too little time in special

education classes is supported by the testimony of Dr. Thibadeau. The finding that teachers are not

given appropriate continuing education is supported by the testimony of Dr. Thibadeau. Finally, as

to the finding that the teacher to pupil ratio was inadequate, it is within the province of the Arkansas

Department of Education to set a standard for the teacher to pupil ratio inasmuch as one element of

the definition of “free appropriate public education” is compliance with standards of the state

educational agency. 20 U.S.C. § 1401(9). The greater weight of the evidence supports the findings

of the Arkansas Department of Education, as described above, so those findings are adopted as the

findings of this Court.

        In response to the letter of noncompliance, Conway Human Development Center was

required to submit a corrective action plan. The process of submitting the corrective action plan had

begun before trial, Tr. 3037 (M. Harding), but was continuing at the time of trial. Tr. 6503 (J. Buck);

Tr. 6881 (C. Price); Defs.’ Ex. JB-2. At the time of trial, the Center had added special education

instruction times and developed new pupil schedules.            Tr. 2117-18 (S. Milum); Tr. 3047

(M. Harding). Additional special education teachers had been hired. Tr. 3047 (M. Harding).

Conway Human Development Center was in the process of hiring additional staff. Defs.’ Ex. JB-2

at 4. The Center was also changing its professional development policies to bring them into

compliance. Defs.’ Ex. JB-2 at 4.


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       When the trial concluded and the record closed, the Arkansas Department of Education had

not yet determined whether the corrective action taken by Conway Human Development Center

would be sufficient to bring the Center’s special education program into compliance with the

Individuals with Disabilities Education Act. The process was ongoing and was not scheduled to be

completed until sometime after trial. Nonetheless, the evidence was sufficient to show that the

Arkansas Department of Education will ensure that the appropriate corrective action is taken to bring

the Center’s special education program into compliance with the Individuals with Disabilities

Education Act. Although the monitors from the Arkansas Department of Education did not review

the file of every child at Conway Human Development Center, in the corrective action process, the

Center will be required to review the programs for all similarly situated children and correct them.

Tr. 3051 (M. Harding). As Marcia Harding testified, “[W]e set out corrective actions, and we go in

and assure that it gets corrected.” Tr. 3034 (M. Harding). The Court believes her.

                                             II.
                                     CONCLUSIONS OF LAW

A.     CONCLUSIONS OF LAW REGARDING THE PLAINTIFF’S STANDING

       The Civil Rights of Institutionalized Persons Act authorizes the Attorney General to institute

a civil action in the name of the United States to obtain “such equitable relief as may be appropriate

to insure the minimum corrective measures necessary” to guarantee that institutionalized persons are

not deprived of rights, privileges, or immunities secured by the Constitution or the laws of the United

States. 42 U.S.C. § 1997a(a) (2006). Conway Human Development Center is an institution as

defined in the Civil Rights of Institutionalized Persons Act. 42 U.S.C. § 1997. The United States

has standing to bring this action.




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B.     CONCLUSIONS OF LAW REGARDING THE PLAINTIFF’S FOURTEENTH
       AMENDMENT CLAIMS

       The Supreme Court has held that when a mentally retarded person is involuntarily committed

to a state institution, the state has certain obligations under the Fourteenth Amendment. Youngberg

v. Romeo, 457 U.S. 307, 102 S. Ct. 2452, 73 L. Ed. 2d 28 (1982).35 According to Youngberg, a

mentally retarded person involuntarily committed to a state institution has the right to minimally

adequate or reasonable training to ensure safety and freedom from undue restraint. Id. at 319, 102

S. Ct. at 2460. The Court recognized:

       Yet these interests [in safety and freedom from restraint] are not absolute; indeed, to
       some extent they are in conflict. In operating an institution such as [the one at issue
       in Youngberg], there are occasions in which it is necessary for the State to restrain
       the movement of residents – for example, to protect them as well as others from
       violence. Similar restraints may also be appropriate in a training program. And an
       institution cannot protect its residents from all danger of violence if it is to permit
       them to have any freedom of movement. The question then is not simply whether a
       liberty interest has been infringed but whether the extent or nature of the restraint or
       lack of absolute safety is such as to violate due process.

Id. at 319-20, 102 S. Ct. at 2460. Determining whether the rights of a mentally retarded person in

a state institution have been violated requires “that the courts make certain that professional

judgment in fact was exercised. It is not appropriate for the courts to specify which of several

professionally acceptable choices should have been made.” Id. at 321, 102 S. Ct. at 2461. A

mentally retarded person in a state institution is entitled to “minimally adequate training,” defined

as “such training as may be reasonable in light of [the individual’s] liberty interests in safety and



       35
          The parties agree that Youngberg applies in this case, so the Court need not and will not
address the issue of whether Youngberg is inapplicable because some or all of the residents of
Conway Human Development Center are there voluntarily. Cf. DeShaney v. Winnebago Cnty.
Dep’t of Soc. Servs., 489 U.S. 189, 109 S. Ct. 998, 103 L. Ed. 2d 249 (1989); Dorothy J. v. Little
Rock Sch. Dist., 7 F.3d 729 (8th Cir. 1993).

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freedom from unreasonable restraints.” Id. at 322, 102 S. Ct. at 2461. Courts “must show deference

to the judgment exercised by a qualified professional.” Id. The decision by a professional “is

presumptively valid; liability may be imposed only when the decision by the professional is such a

substantial departure from accepted professional judgment, practice, or standards as to demonstrate

that the person responsible actually did not base the decision on such a judgment.” Id. at 323, 102

S. Ct. at 2462.

       Applying the Youngberg standards to this case, the Court concludes that Conway Human

Development Center does not violate the mandates of the Fourteenth Amendment. Conway Human

Development Center provides minimally adequate training and protects the safety and freedom of

its residents in a manner consistent with the standards of Youngberg. The professionals at Conway

Human Development Center exercise professional judgment. Even if the professional judgment of

some or all of the plaintiff’s experts were better than the professional judgment of some or all of the

professionals at Conway Human Development Center, the evidence does not prove that decisions

of the latter represent such a substantial departure from accepted professional judgment, practice,

or standards as to demonstrate that professional judgment was not actually exercised. Conway

Human Development Center is in compliance with the Fourteenth Amendment to the Constitution

of the United States.

C.     CONCLUSIONS OF LAW REGARDING THE AMERICANS WITH
       DISABILITIES ACT

       The Americans with Disabilities Act provides, in pertinent part:

       Subject to the provisions of this subchapter, no qualified individual with a disability
       shall, by reason of such disability, be excluded from participation in or be denied the
       benefits of the services, programs, or activities of a public entity, or be subject to
       discrimination by any such entity.


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42 U.S.C. § 12132. This prohibition on discrimination

        may require placement of persons with developmental disabilities in community
        settings rather than in institutions when . . . the State’s treatment professionals have
        determined that community placement is appropriate, the transfer from institutional
        care to a less restrictive setting is not opposed by the affected individual, and the
        placement can be reasonably accommodated, taking into account resources available
        to the State and the needs of others with mental disabilities.

Olmstead v. Zimring, 527 U.S. 581, 587, 119 S. Ct. 2176, 2181, 144 L. Ed. 2d 540 (1999). A public

entity must administer services, programs, and activities in the most integrated setting appropriate

to the needs of qualified individuals with disabilities. Id. at 591-92, 119 S. Ct. at 2183; 28 C.F.R.

§ 35.130(d) (2010). The most integrated setting appropriate to the needs of a qualified individual

with a disability is a setting that enables the individual with a disability to interact with nondisabled

persons to the fullest extent possible. Olmstead, 527 U.S. at 592, 119 S. Ct. at 2183; 28 C.F.R.

pt. 35, app. B (Mar. 15, 2011). The Americans with Disabilities Act prohibits discrimination against

qualified individuals, i.e., persons with disabilities who “with or without reasonable modifications

to rules, policies, or practices, . . . mee[t] the essential eligibility requirements for the receipt of

services or the participation in programs or activities provided by a public entity.” Olmstead, 527

U.S. at 602, 119 S. Ct. at 2188 (quoting 42 U.S.C. § 12131(2)). A state generally may rely on the

reasonable assessments of its own professionals in determining whether an individual meets the

essential eligibility requirements for habilitation in a community based program. Id. There is no

requirement that community based treatment be imposed on persons who do not desire it. Olmstead,

527 U.S. at 602, 119 S. Ct. at 2188; 28 C.F.R. § 35.130(e)(1).

        The plaintiff failed to prove that Conway Human Development Center is in violation of the

Americans with Disabilities Act. The plaintiff failed to prove that Conway Human Development

Center is not the most integrated setting appropriate to the needs of any specific resident. The

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plaintiff failed to prove that any alternative placement would enable any specific resident of Conway

Human Development Center to interact with nondisabled persons to a greater extent. The

professionals at Conway Human Development Center exercise reasonable professional judgment in

making recommendations for placement of the residents there. No person determined by the State’s

treatment professionals to be appropriate for community placement has been denied community

placement. The parents and guardians of the residents at Conway Human Development Center make

informed judgments regarding placement. No resident of Conway Human Development Center has

been denied community placement when a parent or guardian has requested such a placement.

       Conway Human Development Center is not discriminating against persons with disabilities.

It is not violating the Americans with Disabilities Act.

D.     CONCLUSIONS OF LAW REGARDING THE INDIVIDUALS WITH
       DISABILITIES EDUCATION ACT

       The special education program at Conway Human Development Center is subject to the

requirements of the Individuals with Disabilities Education Act, 20 U.S.C. §§ 1400 et seq. The

children at Conway Human Development Center are children with disabilities as defined in

20 U.S.C. § 1401(3). Conway Human Development Center is required to provide each child with

a free appropriate public education. 20 U.S.C. § 1412(a)(1) (2006).

       The term “free appropriate public education” means special education and related
       services that --
              (A) have been provided at public expense, under public supervision and
              direction, and without charge;
              (B) meet the standards of the State educational agency;
              (C) include an appropriate preschool, elementary school, or secondary school
              education in the State involved; and
              (D) are provided in conformity with the individualized education program
              required under section 1414(d) of this title.

20 U.S.C. § 1401(9). Conway Human Development Center also has an obligation to educate the

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children in the least restrictive environment. Congress has defined that obligation as follows:

       To the maximum extent appropriate, children with disabilities, including children in
       public or private institutions or other care facilities, are educated with children who
       are not disabled, and special classes, separate schooling, or other removal of children
       with disabilities from the regular educational environment occurs only when the
       nature or severity of the disability of a child is such that education in regular classes
       with the use of supplementary aids and services cannot be achieved satisfactorily.

20 U.S.C. § 1412(a)(5)(A). To the extent appropriate, with consent of the parents, Conway Human

Development Center must invite the agency that likely will be responsible for providing transition

services to the individual education plan meeting when a purpose of the meeting will be to consider

post-secondary goals and transition services. 34 C.F.R. § 300.321(b)(3) (2007).

       Conway Human Development Center educates children in the least restrictive environment,

but it has failed to provide children with a free appropriate public education, and it has failed to

invite agencies that provide transition services to the meetings at which post-secondary goals and

transition services are discussed.

       Having concluded that Conway Human Development Center has failed to comply fully with

the Individuals with Disabilities Education Act, the issue is whether to enter an injunction. An

injunction is an equitable remedy that does not issue as a matter of course. Weinberger v. Romero-

Barcelo, 456 U.S. 305, 311, 102 S. Ct. 1798, 1803, 72 L. Ed. 2d 91 (1982); see also Salazar v.

Buono, __ U.S. __, 130 S. Ct. 1803, 1816, 176 L. Ed. 2d 634 (2010). An injunction should issue

only when legal remedies are inadequate and irreparable injury will occur without the injunction.

Romero-Barcelo, 456 U.S. at 312, 102 S. Ct. at 1803. A court should be especially cautious when

contemplating relief that implicates public interests. Salazar v. Buono, 130 S. Ct. at 1816. In

determining whether to exercise the Court’s equitable discretion to enter an injunction in a case such

as this one, where Congress has provided a regulatory scheme, the Court should consider the

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regulatory scheme at issue and the enforcement mechanisms provided therein.

       [C]ourt and agency are not to be regarded as wholly independent and unrelated
       instrumentalities of justice, each acting in the performance of its prescribed statutory
       duty without regard to the appropriate function of the other in securing the plainly
       indicated objects of the statute. Court and agency are the means adopted to attain the
       prescribed end, and so far as their duties are defined by the words of the statute, those
       words should be construed so as to attain that end through co-ordinated action.
       Neither body should repeat in this day the mistake made by the courts of law when
       equity was struggling for recognition as an ameliorating system of justice; neither can
       rightly be regarded by the other as an alien intruder, to be tolerated if it must be, but
       never to be encouraged or aided by the other in the attainment of the common aim.

Hecht Co. v. Bowles, 321 U.S. 321, 330-31, 64 S. Ct. 587, 592, 88 L. Ed. 754 (1944) (quoting United

States v. Morgan, 307 U.S. 183, 191, 59 S. Ct. 795, 799, 83 L. Ed. 1211 (1939)).

       The Individuals with Disabilities Education Act imposes a duty for monitoring and

supervising compliance with the Individuals with Disabilities Education Act on a state educational

agency to be selected by the state:

       (11) State educational agency responsible for general supervision
               (A) In general
               The State educational agency is responsible for ensuring that–
                       (i) the requirements of this subchapter are met;
                       (ii) all educational programs for children with disabilities in the State,
                       including all such programs administered by any other State agency
                       or local agency --
                                 (I) are under the general supervision of individuals in the
                                 State who are responsible for educational programs for
                                 children with disabilities; and
                                 (II) meet the educational standards of the State educational
                                 agency[.]

20 U.S.C. § 1412(a)(11)(A).

       As section 1412(a)(11)(A) makes clear, the state agency’s responsibility to supervise special

education programs includes not only a duty to monitor but also to enforce. Section 1416(a)(1)(C)

provides that the Secretary of Education must “require States to-- (i) monitor implementation of this


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subchapter by local educational agencies; and (ii) enforce this subchapter in accordance with

paragraph (3) and subsection (e).” Paragraph (3) provides:

       (3) Monitoring priorities
       The Secretary shall monitor the States, and shall require each State to monitor the
       local educational agencies located in the State (except the State exercise of general
       supervisory responsibility), using quantifiable indicators in each of the following
       priority areas, and using such qualitative indicators as are needed to adequately
       measure performance in the following priority areas:
               (A) Provision of a free appropriate public education in the least restrictive
               environment.
               (B) State exercise of general supervisory authority, including child find,
               effective monitoring, the use of resolution sessions, mediation, voluntary
               binding arbitration, and a system of transition services as defined in sections
               1401(34) and 1437(a)(9) of this title.
               (C) Disproportionate representation of racial and ethnic groups in special
               education and related services, to the extent the representation is the result of
               inappropriate identification.

In Arkansas, the state educational agency responsible for monitoring and ensuring compliance with

the Individuals with Disabilities Education Act is the Arkansas Department of Education.

       As stated above, the Arkansas Department of Education has required Conway Human

Development Center to submit a corrective action plan for bringing its special education program

into compliance with the Individuals with Disabilities Education Act. The Arkansas Department of

Education will evaluate and determine whether the corrective action plan is appropriate and will

ensure that the special education program at Conway Human Development Center complies with the

Individuals with Disabilities Education Act. Therefore, it is not necessary for this Court to enter an

injunction in order to secure the rights guaranteed by the Individuals with Disabilities Education Act

to students at Conway Human Development Center.




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                                         CONCLUSION

       The Court finds and concludes that Conway Human Development Center complies with all

of the requirements of the Fourteenth Amendment and the Americans with Disabilities Act but not

all of the requirements of the Individuals with Disabilities Education Act. Because Congress has

provided for a state educational agency to enforce compliance with that Act, and because the

evidence established that the state educational agency here is enforcing and will enforce compliance,

no injunction is necessary or appropriate.

       A judgment dismissing this action with prejudice will be entered separately.

       IT IS SO ORDERED this 8th day of June, 2011.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE




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